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          EXHIBIT 29
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                                                                               A
                                                                              Alcoa




          Sickness and Accident, Long
          Term Disability and Life
          Insurance Benefits
          Agreement
           Summary Plan Description




                                                    Alcoa-USW Master Agreement Plan
                                                                       January 2020



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          This booklet is the Plan Document and Summary Plan Description (SPD) of sickness and accident and life insurance benefits, which are
          incorporated in and made parl of the collective bargaining agreements between the Company and the Unions listed under the "Parlicipating
          Unions" section of this booklet. The effective date of the sickness and accident benefits is specified in the charl "Weekly Sickness and Accident
          Benefit for Employees Covered under the Master Agreement Plan". The effective date for life insurance benefits is specified on page 30. An
          SPD is intended to summarize the features of a plan in clear, understandable and informal language for parlicipants. The terms under which the
          Plan operates are contained in this booklet and in the policy and/or cerlificate from the insurance company.


          Si no entiende alguna parte de esta informaci6n, llame 1-844-31ALCOA (1-844-312-5262). Decir "espafiol" y su llamada sera transferida a un
          representante que pueda ayudar con assistencia de un interprete .




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               Plan Overview
               The Company offers a range of benefits to help protect you and your family in the event of your serious
               injury, accident or death. These benefits include the following.

               ■   Sickness and Accident (S&A) Benefits: These Company-provided benefits are designed to replace a
                   portion of your weekly income if you are unable to work because of illness or injury. The benefits are
                   effective as indicated on page 3.

               ■   Long Term Disability: The Company provides, at no cost to you, long term disability benefits to those
                   employees hired or rehired on or after January 1, 2020.

               ■   Company-Provided Life Insurance: The Company offers the following life insurance coverage at no
                   cost to you:

                   -employee life insurance;

                   -accidental death and dismemberment (AD&D) insurance; and

                   -business travel accident insurance.

                   The effective date for the Company-provided life insurance benefits described in this booklet is shown
                   in the chart on page 30.

               ■   Optional Employee-Paid Life Insurance Programs:

                   -Group Universal Life (GUL) Insurance product line through MetLife gives you the option to
                     purchase additional life insurance for you and/or your family members. Note that GUL is not
                     sponsored or administered by the Company.

               ■   Frozen Optional Life Insurance and AD&D Programs:

                   -Voluntary life and AD&D insurance was available to employees who enrolled in this program on or
                     before March 1, 1978. No enrollments have been permitted since that date.

                   -Additional voluntary life and AD&D insurance was available to employees insured for $25,000 or
                     more under the voluntary life insurance plan, who enrolled on or before September 1, 1974. No
                     enrollments have been permitted since that date.

                   -Supplemental life and AD&D insurance was available only to employees who enrolled in the
                     voluntary life insurance plan on or before March 1, 1978. No enrollments have been permitted since
                     that date.

                   -Contributory life and AD&D insurance was available only to employees enrolled on or before
                     November 1, 1987. No enrollments have been permitted since that date.

               See the individual sections of this booklet for details on each of these benefits.




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               Who Is Eligible

               You are eligible for S&A benefits and Company-provided life, AD&D and business travel accident
               insurance outlined in this Summary Plan Description if you are:

               ■   an active full-time hourly employee at a Company location or participating subsidiary that offers the
                   Plan; and

               ■   covered by a collective bargaining agreement that contains this Plan as part of the agreement.

               The following are not eligible: agency, leased or contract employees and other individuals who are not on
               the Company payroll, as determined by the Company, without regard to any court or agency decision
               determining common-law employment status.

               Eligibility for optional employee-paid life insurance programs is determined by MetLife. See the individual
               sections of this booklet for specific information.




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               Sickness & Accident Benefits
               The Company offers S&A benefits to help protect you and your family in the event of your illness or injury.
               S&A benefits are designed to replace a portion of your income while you are unable to work due to a
               work-related or non-work-related disability.


               Who Pays the Cost

               The Company pays the full cost of your S&A coverage.


               Enrollment

               No enrollment is necessary for S&A coverage. You automatically are enrolled in the Plan on your first day
               of work.


               When Coverage Begins

               Your S&A coverage begins on the first day you are actively at work. If you are not actively at work on the
               date that coverage is scheduled to begin because of illness, injury or an authorized leave of absence,
               coverage will begin on the date you return to active work.


               When Coverage Ends

               S&A coverage ends on the earlier of:

               ■   your last day of active work, unless you are disabled, or take a military or personal leave of absence or
                   an approved leave under the Family and Medical Leave Act (FMLA); see "Coverage While Not at
                   Work" on page 31 for information on when coverage may continue;

               ■   the date on which your coverage continuation ends if you are disabled or on a leave of absence as
                   described above;

               ■   the date on which the maximum benefit period that you are entitled to under the Plan ends; or

               ■   the day before you retire or stop accruing pension service.


               When Benefits Are Payable

               To receive S&A benefit payments, you must become totally disabled while you are covered under the
               Plan. Totally disabled means that you are completely unable to perform the duties of your job due to
               injury, illness or pregnancy, and you are under a doctor's care. You also must submit proof of your
               continued total disability when it is requested by the claims administrator.

               The number of weeks you may receive S&A benefits depends on your years of accumulated
               departmental seniority on the date your disability begins, as shown in the chart on the next page.




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                                        Maximum Benefit Period for Sickness & Accident Benefits
                   Accumulated departmental seniority at start of
                   disability absence:                                     S&A benefits may continue for up to:
                   Less than 2 years                                       26 weeks
                   2 or more years                                         104 weeks

               S&A benefit payments begin on the earlier of the:

               ■   first day of an absence due to a total disability because of an accident or outpatient surgery performed
                   by a doctor;

               ■   first day of an inpatient hospital confinement ordered by a doctor, including confinement as an organ
                   transplant recipient or organ donor; or

               ■    eighth day of a total disability due to sickness or pregnancy.

               Benefits also are paid for the day you have routine outpatient hospital admission testing if:

               ■   tests are done within five days of your confinement in the hospital;

               ■   tests are not repeated once you are confined;

               ■   you are not confined prior to the day of surgery; and

               ■   you do not report for work on the day testing is performed.

               To apply for benefits, call 1-844-31ALCOA (1-844-312-5262). For full information on applying for benefits
               and claims procedures, see "Claims Procedures" beginning on page 57.

               If you receive S&A benefits and then become disabled after you return to work, see
               "Recurring/Concurring Disability" on page 6 for information about your coverage.

               Continuation of Other Company Benefits

               While you are disabled and receiving S&A benefits, coverage under your other benefits may continue.
               See the Health Care Benefits Agreement and other Summary Plan Description booklets for more
               information.

               Employees absent from work and receiving S&A benefits will not be required to pay health care
               premiums. Instead, the weekly S&A benefit is reduced to cover the cost of health care coverage. The
               S&A benefit is reduced for everyone regardless of your health care elections. The reduction is based on
               the average weekly employee health care contribution which is determined each year after the annual
               enrollment period closes. Employees who have elected to contribute to the Health Care Fund Flexible
               Spending Account will have the option to continue contributions to this account and will be billed
               separately if applicable.




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               Benefit Amount

               The amount of your weekly S&A benefit is based on your job grade, and on the average weekly employee
               health care contribution that is effective for the year. Your job grade is determined on the first day you are
               actively at work on or after August 1 each year. The average weekly employee health care contribution is
               determined each year after the annual enrollment period closes. The tables below shows the average
               weekly employee health care contribution and the S&A benefit amount applicable for new disabilities that
               begin on or after September 23, 2019 and for those disabilities beginning prior to September 23, 2019.



                                 Weekly Sickness & Accident Benefit for Employees Covered under
                                                   the Master Agreement Plan, 2020
                             Base Benefit, Before Health                           S&A Benefit, After Deduction of
                               Care Contribution, 2020       Average Weekly        Health Care Contribution, 2020
                Job        Disability Date  Disability Date  Employee Healthcare Disability Dates    Disability Date
                Grades      Pre-9/23/19     9/23/19 or later Contribution for 2020 Pre-9/23/19      9/23/19 or later
                1-4           $377.00             $422.00                 $43.95                $333.05             $378.05
                5-8           $391.00             $436.00                 $43.95                $347.05             $392.05
                9-12          $403.00             $448.00                 $43.95                $359.05             $404.05
                13-16         $420.00             $465.00                 $43.95                $376.05             $421.05
                17-20         $437.00             $482.00                 $43.95                $393.05             $438.05
                21-24         $455.00             $500.00                 $43.95                $411.05             $456.05
                25-and        $473.00             $518.00                 $43.95                $429.05             $474.05
                above
               * This weekly amount is subject to change each year and will be determined after the annual enrollment period
                 closes. The 2020 amounts are shown above and 2021 below.



                                 Weekly Sickness & Accident Benefit for Employees Covered under
                                                   the Master Agreement Plan, 2021
                             Base Benefit, Before Health                           S&A Benefit, After Deduction of
                               Care Contribution, 2021       Average Weekly        Health Care Contribution, 2021
                Job        Disability Date  Disability Date  Employee Healthcare Disability Dates    Disability Date
                Grades      Pre-9/23/19     9/23/19 or later Contribution for 2021 Pre-9/23/19      9/23/19 or later
                1-4           $377.00             $422.00                 $44.21                $332.79             $377.79
                5-8           $391.00             $436.00                 $44.21                $346.79             $391.79
                9-12          $403.00             $448.00                 $44.21                $358.79             $403.79
                13-16         $420.00             $465.00                 $44.21                $375.79             $420.79
                17-20         $437.00             $482.00                 $44.21                $392.79             $437.79
                21-24         $455.00             $500.00                 $44.21                $410.79             $455.79
                25-and        $473.00             $518.00                 $44.21                $428.79             $473.79
                above




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               In addition, your S&A benefit is reduced by disability income you may receive from another source (see
               "Effect of Income from Other Sources" on page 7).

               The states of New York, New Jersey, California, Hawaii , Rhode Island and the territory of Puerto Rico
               currently mandate a minimum level of disability benefits payable to individuals who work in that state. The
               Plan will comply with these and other applicable state laws. The minimum benefit that will be paid to
               employees working in any of these locales will be the mandated benefit level. In the event that an
               employee is eligible for a higher level of benefit through the Company Plan, the higher benefit will be paid.


               Recurring/Concurring Disability

               The maximum benefit period (26 or 104 weeks) applies to:

               ■   each unbroken period of disability from one or more causes; and

               ■   separate absences due to the same or related causes , unless you are actively at work for at least three
                   months between the first and second absence.

               If you return to active work for three months or more between two periods of disability, the second
               absence is considered a separate period , unrelated to the first absence.

               Benefits will not be paid beyond the maximum benefit period.


               When Benefit Payments End

               Your weekly S&A benefit payments end on the earlier of the date:

               ■   you return to work, retire, stop accruing pension service, or die;

               ■   you reach the maximum benefit period (26 or 104 weeks) to which you are entitled; or

               ■   the Plan ends.

               S&A benefits may be suspended or delayed if you fail to provide proof of your total disability when it is
               requested by the claims administrator.


               Situations Not Covered

               S&A benefits are not paid for:

               ■   the first seven calendar days of your disability, unless the disability is due to accident , inpatient
                   confinement, or outpatient surgery;

               ■   any period for which you do not provide proof of your continued total disability, as required by the
                   claims administrator;

               ■   any period longer than the maximum benefit period;

               ■   any period on or after your retirement date; or

               ■   any period during which you work for pay.




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               If the Claims Administrator Disputes Your Claim

               If the S&A claims administrator disputes your disability claim, a third party review will be conducted to
               determine whether you are eligible to receive weekly S&A benefits. The doctor selected to do this review
               must be approved by your doctor and by the claims administrator. Expenses associated with the review
               process will be paid by the claims administrator.

               You will receive your weekly S&A benefits while your claim is being reviewed, if you sign an authorization
               form allowing the claims administrator to recover any excess benefits you may be paid.


               Right of Examination

               The Company or claims administrator reserves the right to have an examination conducted by a doctor of
               its choice, at no cost to you, while you are claiming disability benefits. To continue to be eligible for S&A
               benefits, you may be required by the Company or claims administrator to provide satisfactory proof of
               your continued total disability.


               Effect of Income from Other Sources

               If you are eligible for disability income from other sources, your S&A benefit will be reduced by the
               amount of this other income. You receive the same total benefit amount determined by your S&A
               coverage-the difference is where the money comes from. The S&A benefit and the other sources of
               income will pay a benefit that together equals the total amount of your S&A benefit (as on page 5).

               Other sources of income are considered to be:

               ■   any other disability benefits provided by the government, such as benefits under workers'
                   compensation, the Occupational Disease Act, or the State Compulsory Disability Law;

               ■   any primary reduced or unreduced old-age benefits or disability benefits from Social Security, except in
                   the case of a trial work period (see "Effect of Income from Social Security" below and on page 8); or

               ■   any benefits received from the Railroad Unemployment Insurance Act or any similar law.

               If you do not receive benefits from any other source of disability income (described above), you will
               receive the full amount of the S&A benefit that you are entitled to, as long as you meet the definition of
               total disability (see page 51 ).

               Any private disability insurance you may have is considered to be in addition to your S&A, and therefore
               will not reduce the amount of S&A benefits you receive.




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               Effect of Income from Social Security

               Any amount of Social Security benefit referred to as another source of income is determined on the basis
               of the terms of the Social Security Act in effect when you first are entitled to Social Security benefits in
               each continuous period of disability. The Social Security reduction does not include any reasonable legal
               or medical expenses incurred in appealing a Social Security denial, unless you are reimbursed for those
               expenses.

               If you are entitled to Social Security benefits, your S&A weekly benefits are not reduced by the Social
               Security benefit if:

               ■   you give the claims administrator proof that you have applied for these benefits before the 15th week of
                   your disability; and

               ■   your Social Security benefits are not provided when they are first due.

               Your S&A benefits are reduced by any Social Security benefits that you are entitled to, when:

               ■   your Social Security benefits start; or

               ■   a total of 34 weeks of S&A benefits have been paid.

               You must make arrangements to assure the claims administrator is repaid for any excess payment of
               S&A benefits that results when you receive Social Security benefits. This means that in order to receive
               S&A benefits, you must:

               ■   agree to repay the claims administrator on receipt of retroactive payment from the Social Security
                   Administration;

               ■   authorize the claims administrator to deduct the amount of excess payments from money the Company
                   owes you, including benefits, wages, and/or pension; and

               ■   authorize the Social Security Administration to give relevant information to the Company.

               S&A Benefits beyond 34 weeks are not payable unless you prove that:

               ■   your Social Security benefits have been awarded; or

               ■   although your Social Security benefits were denied, you requested a review of the denial within four
                   weeks of the date of the denial. The repayment terms described previously apply.

               Applying for Other Benefits

               The claims administrator determines if you may be eligible to receive benefits from any other source of
               disability income , and will provide assistance in the timing and application of your claim for any of these
               benefits. You must apply for the other benefits when you first become eligible to claim benefits.

               If you do not apply for the benefits correctly or at all, the claims administrator estimates the amount you
               could receive from these sources (except reduced primary old-age Social Security benefits) and reduces
               your S&A payment by that amount.




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               Other Adjustments

               Overpayments can occur for a variety of reasons. The following are some common occurrences.

               ■   You are eligible for S&A benefits and there is a dispute about your eligibility for workers' compensation,
                   Occupational Disease Act, Railroad Unemployment Insurance Act or similar benefits, and you receive
                   S&A benefits while your claim is being reviewed.

               ■   Government regulations require weekly disability benefits for injury or illness not related to work (e.g.,
                   state plan benefits for California, New York, New Jersey, Hawaii, Rhode Island and the territory of
                   Puerto Rico).

               Whatever the reason for the overpayment, you must arrange to repay the claims administrator for any
               overpayment of S&A benefits that results when you receive benefits from any other source. You must:

               ■   agree to repay the claims administrator or the Company, as applicable, upon receipt of retroactive
                   payment from any other source;

               ■   authorize Alcoa to deduct the amount of overpayment from money the Company owes you, such as
                   pay and/or pension; and

               ■   authorize the source of the payments to give relevant information to the claims administrator or the
                   Company, as applicable.


               Coverage While Not at Work

               In certain situations, S&A coverage may continue while you are not at work. This continuation begins on
               the last day you are actively at work and ends based on your status, as described below. If you are
               receiving S&A benefit payments on the date of these events, your payments will continue until you are no
               longer disabled or you have exhausted your benefits.

               If You Are Laid Off

               S&A coverage ends on the date you are laid off.

               If You Are Suspended

               If you are on a disciplinary suspension, S&A coverage continues for the period you are on suspension.

               If You Take a Leave of Absence

               If you take an approved leave of absence, your S&A coverage continues for 31 days (or until the end of
               the following month if your leave ends on any day other than the last day of the month).




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               If You Take a Leave of Absence for Duty in the Uniformed Services

               If you are absent from work due to an approved leave of absence for training or duty in the "uniformed
               services" (which include the Army , Navy, Marine Corps, Air Force , Coast Guard and Public Health
               Service commissioned corps , as well as the reserve components of each of these services) , your S&A
               coverage continues for 31 days (or until the end of the following month if your leave ends on any day
               other than the last day of the month).

               If You Take a Family or Medical Leave

               Your S&A coverage continues for up to 12 weeks if you take an approved leave under the Family and
               Medical Leave Act (FMLA). See the Work & Personal Life Benefit Programs booklet for more information
               on FMLA.




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               Long Term Disability Plan
               The Company provides long-term disability coverage to help protect you and your family in the event of
               your illness or injury extending beyond the duration of S&A benefits.


               Eligibility Requirements

               You are eligible for long-term disability (LTD) insurance if you are an active full-time USW Master
               bargaining unit employee at Alcoa USA Corp., hired or rehired on or after January 1, 2020, excluding
               part-time, temporary, agency, leased , or contract employees, and other individuals who are not on the
               Company payroll.


               Who Pays the Cost

               Alcoa USA provides LTD insurance at no cost to you.


               LTD Benefit

               If you are eligible, your monthly benefit will be 50% of your pre-disability base wage up to a maximum of
               $7,500. Benefits are offset by other income as described in this document.


               Definition of a Long Term Disability

               Due to sickness or as direct accidental injury:

               ■   you are receiving appropriate care and treatment and complying with the requirements of such
                   treatment; and

               ■   during the first 24 months of sickness or accidental injury, you are unable to perform each of the
                   material duties of your own occupation; and

               ■   after such period, unable to perform the duties of any gainful occupation for which you are reasonably
                   qualified taking into account your training, education and experience.


               For purposes of determining whether a disability is the direct result of an accidental injury, the disability
               must have occurred within 90 days of the accidental injury and resulted from such injury independent of
               other cause.


               When Benefits Are Payable

               To receive LTD benefit payments, you must become disabled as defined and determined to be so by the
               insurer, due to a sickness or as a direct accidental injury while you are covered by this plan and remain
               under the care of a doctor. You also must submit proof of your continued total disability when it is
               requested by the LTD claim administrator.




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               If you are eligible to receive LTD benefits, your monthly benefit will begin on the earlier of the date:

               ■   your sickness & accident (S&A) benefits end. LTD benefits are not payable unless your S&A benefits
                   are exhausted; or

               ■   the length of LTD benefits is based on when you become totally disabled as described below.


               Maximum Benefit Period

               The later of:

               ■   your Normal Retirement Age; or

               ■   the period shown in the chart below:



                               Age on Date of Your Disability                     Benefit Period
                                         Less than 60                                To age 65
                                              60                                     60 Months
                                              61                                     48 Months
                                              62                                     42 Months
                                              63                                     36 Months
                                              64                                     30 Months
                                              65                                     24 Months
                                              66                                     21 Months
                                              67                                     18 Months
                                              68                                     15 Months
                                          69 & Over                                  12 Months
                           The maximum benefit period is subject to the "Limited Disability Benefits" and
                           "Date Benefit Payments End" sections.


               If you receive LTD benefits and then become totally Disabled after you return to work, see
               "Recurring/Concurring Disability" for further information.


               Pre-Existing Conditions

               Benefits will not be paid for a disability that results from a pre-existing condition if you have been actively
               at work for less than 12 consecutive months after the date your disability coverage takes effect under this
               Plan.

               A pre-existing condition means a sickness or accidental injury for which you received medical treatment,
               consultation, care or services or took prescribed medication or had medications prescribed in the three
               months prior to your coverage under this plan.




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               Limited Disability Benefits

               For Disability Due to Alcohol, Drug or Substance Abuse or Addiction

               If you are Disabled due to alcohol, drug or substance abuse or addiction, your disability benefits for each
               period of disability per occurrence will be limited. During your disability, you are required to participate in
               an alcohol, drug or substance or addition recovery program recommended by a physician.

               Disability benefit payments will end the earliest of:
               ■   the date you receive 24 months of disability benefit payments;

               ■   the date you cease or refuse to participate in the recovery program referred to above; or

               ■   the date you complete a recovery program.

               If you are confined in a hospital or mental health facility at the end of the period above for which benefits
               are to be paid, your monthly benefits will continue until the end of your confinement.

               For Disability Due to Mental or Nervous Disorders or Diseases

               If you are Disabled due to a mental or nervous disorder or disease, your disability benefits will be limited
               to a per occurrence maximum equal to the lesser of:

               ■   the date you receive 24 months of disability benefit payments; or

               ■   the maximum benefit period.

               This limitation will not apply to a disability resulting from:
               ■   neurocognitive disorders;

               ■   schizophrenia; or

               ■   Bipolar I Disorder.

               If you are confined in a hospital or mental health facility at the end of the period shown above for which
               benefits are to be paid, your monthly benefits will continue until the end of your confinement.

               For purposes of this provision, mental health facility means a facility licensed in the jurisdiction in which it
               is located to provide care and treatment for a mental or nervous disorder or disease. Such facility must
               provide care on a 24-hour-a-day basis under the supervision of a staff of physicians and must provide a
               broad range of nursing care on a 24-hour-a-day basis by or under the direction of a registered
               professional nurse.

               If no exception above applies, and you are Disabled as a result of more than one injury or sickness for
               which disability benefits are payable under this Plan, the benefit limitation periods will run concurrently for
               all such conditions.




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               Bipolar I Disorder means a psychiatric disorder diagnosed in accordance with the diagnostic criteria for
               Bipolar I Disorder set forth in the most recent edition of the Diagnostic and Statistical Manual of Mental
               Disorders (DSM) as of the date of your disability. Supporting documentation must include evidence that
               you experienced at least one full manic episode. The following conditions, as determined using the
               diagnostic criteria for such conditions set forth in the most recent edition of the DSM as of the date of your
               disability, are not considered Bipolar I Disorder for purposes of this exclusion:
               ■   Bipolar II Disorder;

               ■   Cyclothymic disorder;

               ■   substance induced bipolar disorder;

               ■   Bipolar disorder associated with a known general medical condition;

               ■   other specified bipolar disorder; or

               ■   unspecified bipolar disorder.

               Mental or nervous disorder or disease means a medical condition that meets the diagnostic criteria set
               forth in the most recent edition of the DSM as of the date of your disability.

               Neurocognitive disorder means a condition that meets the diagnostic criteria for neurocognitive
               disorders set forth in the most recent edition of the DSM as of the date of your disability, and the cognitive
               deficits that relate to the disability are not attributable to another mental or nervous disorder or disease.
               Neurocognitive disorders include, but are not limited to , conditions such as Alzheimer's disease and other
               forms of dementia , and traumatic brain injury.

               Schizophrenia means a chronic psychiatric disorder diagnosed in accordance with the diagnostic criteria
               for schizophrenia set forth in the most recent edition of the DSM as of the date of your disability.


               Date Benefit Payments End

               Your disability benefit payments will end on the earliest of:
               ■   the end of the maximum benefit period;

               ■   the date benefits end as specified in the above section;

               ■   the date you are no longer Disabled ;

               ■   the date you die;

               ■   the date you cease or refuse to participate in a Rehabilitation Program that is required;

               ■   the date you fail to have a medical exam requested by the insurer;

               ■   the date following 12 consecutive months of disability for which you were entitled to receive monthly
                   benefit payments while you are living outside of the United States or Canada; or

               ■   the date you fail to provide required proof of continuing disability.


               Work Incentive

               If you work while you are Disabled and receiving monthly benefits , your monthly benefit will be adjusted
               as follows:




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               ■   increased by your Rehabilitation Program Incentive, if any; and

               ■   reduced by other income, if applicable (see "Effect of Income from Other Sources" section).

               Your monthly benefit as adjusted above will not be reduced by the amount you earn from working, unless
               your adjusted monthly benefit plus the amount you earn from working and you receive from other income
               exceeds 100% of your Pre-Disability Earnings (see definition of Pre-Disability Earnings).

               Limit on Work Incentive

               After the first 24 months following your elimination period , your monthly benefit will be reduced by 50% of
               the amount you earn from working while Disabled.

               Family Care Incentive

               If you work or participate in a Rehabilitation Program while you are Disabled, you will be reimbursed for up
               to $400 for monthly expenses you incur for each family member to provide:
               ■   care for your or your spouse's child, legally adopted child, or child for whom you or your spouse are
                   legal guardian and who is:
                     o   living with you as part of your household;
                     o   dependent on you for support;
                     o   and under age 13.

               The child care must be provided by a licensed child care provider who may not be a member of your
               immediate family or living in your residence.
               ■   care to your family member who is:

                    o   living with you as part of your household;

                    o   chiefly dependent on you for support; and

                    o   incapable of independent living, regardless of age, due to mental or physical handicap as defined
                        by applicable law.

               Care to your family member may not be provided by a member of your immediate family.

               Reimbursement payments will be made on a monthly basis until you have received 24 payments, but not
               made beyond the maximum benefit period. You will not be reimbursed for any expenses if you are eligible
               for payment from any source. Proof for expenses incurred must be sent to the insurer.

               Moving Expense Incentive

               If you participate in a Rehabilitation Program while Disabled, you may be reimbursed for expenses you
               incur to move to a new residence recommended as part of the program and approved in advance by the
               claim administrator. You must send proof that you have incurred such expenses for moving. Expenses
               incurred for services provided by a member of your immediate family or someone who is living in your
               residence will not be paid.




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               Continuation of Health Care and Life Insurance Benefits while Receiving
               LTD

               Your continuation of medical, dental, and vision at the active employee rate will apply while on LTD, but,
               the maximum period, including the time while you received S&A, is 24 months. This period of time is
               concurrent with COBRA.

               When you begin receiving LTD, providing that you continue to be eligible for Alcoa medical, dental, and
               vision benefits under COBRA, an invoice for your premium, will be sent to your home. If you do not make
               payments as required in a timely manner, all coverage will be cancelled.


               Benefit Amount

               The amount of your monthly LTD benefit is based on your Pre-Disability Earnings as of the last day worked
               and the coverage option you elect.

               LTD benefits are paid monthly and determined by the LTD insurer. The LTD insurer calculates your monthly
               pay by multiplying your hourly rate as of your last day worked by 2080, then dividing by 12. Your monthly
               benefit equals 50% of that amount up to the maximum of $7,500.

               Your LTD benefit is reduced by disability income you may receive from certain other sources (see "Effect
               of Income from Other Sources").

               Under LTD, a $50 monthly minimum benefit is provided for any claimant, subject to the overpayments and
               rehabilitation incentive of the Plan. No minimum monthly benefit will be paid if benefits are received under
               workers' compensation and/or wage loss replacement benefits under the Pennsylvania Motor Vehicle
               Financial Responsibility Law, or other similar state law, equals or exceeds 100% of your Pre-Disability
               Earnings in effect at the start of your disability.


               Recurring/Concurring Disability

               If you receive LTD benefits, return to work, and again become Disabled, benefits under the plan are payable
               as follows.

               If You Return to Active Work Before Completing Your Elimination Period:
               ■   if you return to work for a period of 30 days or less, and then become Disabled again due to the same
                   or related Sickness or accidental injury, you will not be required to complete a new Elimination Period.
                   Your days of disability will count towards the completion of your elimination period.

               ■   if you return to work for a period of more than 30 days, and then become Disabled again, you will have
                   to complete a new elimination period.

               If You Return to Active Work After Completing Your Elimination Period:
               ■   if you return to work for 182 days or less, and then become Disabled again due to the same or related
                   sickness or accidental injury, you will not be required to complete a new elimination period.




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               ■   your second disability will be considered to be part of the original disability and your benefit will be
                   based on the same Pre-Disability Earnings and the same terms , provisions and conditions that were
                   used for the original disability will apply.

               ■   if you return to work for a period of more than 182 days and become Disabled again , you will have to
                   complete a new elimination period. If so, you may be eligible for sickness & accident benefits.




               Situations Not Covered
               LTD benefits are not paid for any disability caused or contributed to by:

               ■   war, whether declared of undeclared, or act of war, insurrection, rebellion or terrorist act;

               ■   your active participation in a riot;

               ■   intentionally self-inflicted injury;

               ■   attempted suicide; or

               ■   commission of or attempt to commit or taking part in a felony.


               Right of Examination
               The LTD claims administrator or the company reserves the right to have an examination conducted by a
               doctor of its choice, at no cost to you , while you are claiming disability benefits. To continue to be eligible
               for LTD benefits , you may be required by the LTD claims administrator or the company to provide
               satisfactory proof of your continued total disability.


               Effect of Income from Other Sources
               If you are eligible for disability income from certain other sources , your LTD benefit will be reduced by the
               amount of the other source. Other sources of income include the following:
               ■   Any disability or retirement benefits which you , your spouse or child(ren) receive or are eligible to
                   receive because of your disability or retirement under:

                   o Federal Social Security Act;

                   o Railroad Retirement Act;

                   o any state , public or federal employee retirement or disability plan , including State Teachers
                     Retirement System (STRS); Public Employee Retirement System (PERS) or Federal Retirement
                     System (FERS). You must apply for such benefits through the highest appeal level that is applicable
                     to such benefits and available under the plan; or

                   o any pension or disability plan of any other nation or political subdivision.

               ■   any income received for disability or retirement under the Alcoa USA retirement plan , to the extent that
                   it can be attributed to the company's contributions.

               ■   any income received for disability under:

                   o a group insurance policy to which Alcoa USA has made a contribution , such as:

                           ■    benefits for loss of time from work due to disability;




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                          ■   installment payments for permanent total disability;
                   o a no-fault auto loss of income, excluding supplemental disability benefits;

                   o a government compulsory benefit plan or program which provides payment for loss of time from your
                     job due to your disability, whether such payment is made directly by the plan or program, or through
                     a third party;

                   o a self-funded plan, or other arrangement if Alcoa USA contributes toward it or makes payroll
                     deductions for it;

                   o any sick pay, vacation pay or other salary continuation that Alcoa USA pays to you;

                   o workers' compensation or a similar law which provides periodic benefits;

                   o occupational disease laws;

                   o laws providing for maritime maintenance and cure;

                   o unemployment insurance law or program;

               ■   any income that you receive from working while Disabled to the extent that such income reduces the
                   amount of your monthly benefit. This includes but is not limited to salary, commissions, overtime pay,
                   bonus or other extra pay arrangements from any source.

               ■   recovery amounts you receive for loss of income as a result of claims against a third party by judgment,
                   settlement, or otherwise including future earnings.


               Applying for Other Benefits
               If there is a reasonable basis for you to apply for benefits under the Federal Social Security Act; a
               government compulsory plan or program; or a federal, state or other public employee retirement or disability
               plan or program, including a STRS, PERS or FERS Retirement System, you are expected to apply for such
               benefits.

               With respect to benefits under the Federal Social Security Act, to apply means to pursue such benefits until
               You receive approval from the Federal Social Security Administration, or a notice of denial of benefits from
               an administrative law judge. The amount of your disability benefit will be reduced by the amount of Federal
               Social Security benefits the claims administrator estimates that you , your spouse or child(ren) are eligible
               to receive because of your disability or retirement. This will start after you have received 24 months of
               disability benefit payments, unless the claims administrator receives:
               ■   approval of Your claim for Federal Social Security benefits; or

               ■   a notice of denial of such benefits indicating that all levels of appeal have been exhausted.

               You must, within 6 months following the date you became Disabled:
               ■   send the claims administrator proof that you have applied for Federal Social Security benefits;

               ■   sign a reimbursement agreement in which you agree to repay the claims administrator for any
                   overpayments

               ■   sign a release that authorizes the Federal Social Security Administration to provide information directly
                   to the claim administrator concerning your Federal Social Security benefits eligibility.




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               If you do not satisfy the above requirements, your disability benefits will be reduced by such estimated
               Federal Social Security benefits starting with the first disability benefit payment coincident with the date you
               were eligible to receive Federal Social Security benefits.

               With respect to Government Compulsory Benefit Plans or Programs or STRS, PERS, FERS Benefit Plans
               or Programs, to apply means to pursue such benefits through all applicable levels of appeal provided under
               such benefit plans or programs. You must, within 6 months following the date you become Disabled:
               ■   send the claims administrator proof that you have applied for benefits under such plans or programs;
                   and

               ■   sign a reimbursement agreement in which you agree to repay the claims administrator for any
                   overpayments.

               If you do not satisfy the above requirements, your disability benefits will be reduced by the amount of such
               government compulsory benefit plan or program benefit, or STRS, PERS or FERS benefit that the claims
               administrator estimates you, your spouse or child(ren) are eligible to receive, provided that they have the
               reasonable means to make such an estimate. This will start with the date you were eligible to receive such
               government compulsory benefit plan or program benefit or STRS, PERS or FERS benefits under any such
               plan or programs.

               With respect to benefits You have applied for under the Federal Social Security Act, a government
               compulsory benefit plan or program or a federal, state or other public employee retirement or disability plan
               or program, including a STRS, PERS or FERS Retirement System plan or program, or if you do receive
               approval or final denial of your claim for such benefits, you must notify the claims administrator immediately.
               The amount of your disability benefit will be adjusted, and you must promptly repay the claims administrator
               for any overpayment.


               Single Sum Payment
               If you receive Other Income in the form of a single sum payment, you must, within 10 days after receipt of
               such payment, give written proof satisfactory to the claims administrator of:
               ■   the amount of the single sum payment;

               ■   the amount to be attributed to income replacement; and

               ■   the time period for which the payment applies.

               When such proof is received, the amount of your disability benefit will be adjusted.

               If the written proof described above is not received by the claims administrator, and they know the amount
               of the single sum payment, they may reduce your disability benefit by an amount equal to such benefit until
               the single sum has been exhausted.

               If the amount of your disability benefit is adjusted due to a single sum payment, the amount of the
               adjustment will not result in a benefit amount less than the minimum amount, except in the case of an
               overpayment.

               If you receive Other Income in the form of a single sum payment and the claims administrator does not
               receive the written proof described above within 10 days after you receive the single sum payment, the
               amount of your disability benefit will be adjusted by the amount of such payment.




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               If You Take a Family or Medical Leave of Absence
               If you take an approved family or medical leave of absence under the Family and Medical Leave Act
               (FMLA), your LTD coverage continues for up to 12 weeks, provided you pay the required cost.


               When Your Disability Insurance Ends
               Your insurance will end on the earliest of:
               ■   the date the Group Policy ends; or

               ■   the date insurance ends for your class; or

               ■   the end of the period for which the last premium has been paid for you; or

               ■   the date you cease to be in an eligible class. You will cease to be in an eligible class on the date you
                   cease active work in an eligible class, if you are not Disabled on that date; or

               ■   the date your employment ends; or

               ■   the date you retire in accordance with the date your employment ends.


               Definitions

               Actively at Work or Active Work

               You are performing all of the usual and customary duties of your job. This must be done at the company's
               place of business; an alternate place approved by the company; or a place to which the company's business
               requires you to travel.

               You will be considered to be actively at work during weekends or Alcoa USA-approved vacations, holidays
               or business closures if you were actively at work on the last scheduled work day preceding such time off.



               Appropriate Care and Treatment
               Medical care and treatment that is:
               ■   given by a physician whose medical training and clinical specialty are appropriate for treating your
                   disability;

               ■   consistent in type, frequency and duration of treatment with relevant guidelines of national medical
                   research, health care coverage organizations and governmental agencies;

               ■   consistent with a physician's diagnosis of your disability; and

               ■   intended to maximize your medical and functional improvement.

               Consumer Price Index
               The CPI-W, the Consumer Price Index for Urban Wage Earners and Clerical Works published by the U.S.
               Department of Labor. If the CPI-W is discontinued or replaced, the claims administrator reserves the right
               to substitute any other comparable index.




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               Disabled
               Due to sickness or as direct accidental injury:
               ■   you are receiving appropriate care and treatment and complying with the requirements of such
                   treatment; and

               ■   during the first 24 months of sickness or accidental injury, you are unable to perform each of the
                   material duties of your own occupation; and

               ■   after such period, unable to perform the duties of any gainful occupation for which you are reasonably
                   qualified taking into account your training, education and experience.


               For purposes of determining whether a disability is the direct result of an accidental injury, the disability
               must have occurred within 90 days of the accidental injury and resulted from such injury independent of
               other causes.

               If you are Disabled and have received an LTD monthly benefit for 12 months, we will adjust your Pre-
               Disability Earnings only for the purposes of determining whether you continue to be Disabled and for
               calculating the return to work incentive, if any. We will make the initial adjustment as follows:

               We will add to your Pre-Disability Earnings an amount equal to the product of:
               ■   your Pre-Disability Earnings times the lesser of:

                   o 7%; or

                   o the annual rate of increase in the Consumer Price Index for the prior year.


               Annually thereafter, we will add an amount to your adjusted Pre-Disability Earnings calculated by the
               method set forth above but substituting your adjusted Pre-Disability Earnings from the prior year for your
               Pre-Disability Earnings. This adjustment is not a cost of living benefit.



               Elimination Period
               The period of your disability during which we do not pay benefits. This period begins on the day you become
               Disabled and continues for the period as shown for the S&A Plan and the LTD Plan.


               ERISA

               The Employee Retirement Income Security Act of 1974, as amended, a federal law that governs group
               benefit plans.

               Full-Time Employee

               An active employee who works on a regular 40-hour work week schedule and is not a part-time or temporary
               employee.




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               Insurer

               The insurer has responsibility for claim determination and claim appeals.

               Leased Employee

               Leased employee as defined in the Internal Revenue Code, section 414(n), as amended.

               Normal Retirement Age
               Age as defined by the federal Social Security Administration on the date your disability starts.

               Own Occupation
               The essential functions you regularly perform that provide your primary source of earned income.



               Part-Time Employee

               An active employee who works at least 50% but less than 100% of the regular work schedule for that
               location, but who is not a temporary employee.

               Physician
               ■   A person licensed to practice medicine in the jurisdiction where such services are performed; or

               ■   any other person whose services, according to applicable law, must be treated as physician's services
                   for purposes of the Group Policy. Each such person must be licensed in the jurisdiction where he
                   performs the service and must act within the scope of that license. He must also be certified and/or
                   registered if required by such jurisdiction.

               Does not include:
               ■   you;

               ■   your spouse; or

               ■   any member of your immediate family including your and/or your spouse's:

                   o parents;

                   o children (natural, step or adopted);

                   o siblings;

                   o grandparents; or

                   o grandchildren.



               Pre-Disability Earnings

               Gross salary or wages you were earning from Alcoa USA as of your last day of active work before your
               disability began. We calculate this amount on a weekly basis for a S&A benefit payment and on a monthly
               basis for a benefit payment under the LTD Plan.




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               Includes:

               ■   contributions you were making through a salary reduction agreement with Alcoa USA to any of the
                   following:

                   o an Internal Code (IRC Section 401 (k), 403(b) or 457 deferred compensation arrangements;

                   o an executive non-qualified deferred compensation arrangement; and

                   o your fringe benefits under an IRC Section 125 plan.

               Does not include:

               ■   commissions;

               ■   awards and bonuses;

               ■   overtime pay;

               ■   the grant, award, sale conversion and/or exercise of shares of stock or stock options;

               ■   Alcoa USA's contributions on your behalf of any deferred compensation arrangement or pension plan;
                   or

               ■   any other compensation from Alcoa USA.

               Proof

               Written evidence satisfactory to the claims administrator that a person has satisfied the conditions and
               requirements for any benefit described under this plan. When a claim is made for any benefit described
               under this plan, Proof must establish:

               ■   the nature and extent of the loss or condition;

               ■   the claim 's administrator's obligation to pay the claim; and

               ■   your right to receive payment.

               Proof must be provided at the claimant's expense.

               Rehabilitation Program
               A program that has been approved by the claims administrator for the purpose of helping you return to
               work. It may include, but is not limited to, your participation in one or more of the following activities:

               ■   return to work on a modified basis with a goal of resuming employment for which you are reasonably
                   qualified by training, education, experience and past earnings;

               ■   on-site job analysis;

               ■   job modification/accommodation;

               ■   training to improve job-seeking skills;

               ■   vocational assessment;

               ■   short-term skills enhancement;

               ■   vocational training; or




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               ■   restorative therapies to improve functional capacity to return to work.

               Retirement Plan
               A plan that:
               ■   provides retirement benefits to employees; and

               ■   is funded in whole or in part by Alcoa USA contributions.

               Does not include:
               ■   profit sharing plans;

               ■   thrift or savings plans;

               ■   non-qualified plans of deferred compensation;

               ■   plans under IRC Section 401 (k) or 457;

               ■   individual Retirement accounts (IRA);

               ■   tax sheltered annuities (TSA) under IRC Section 403(b);

               ■   stock ownership plans; or

               ■   Keogh (HR-10) plans.

               Sickness

               Illness, disease or pregnancy, including complications of pregnancy.

               Temporary Employee

               An employee paid through Alcoa USA's payroll system who:

               ■   does not work on a regular schedule, or works less than 50% of the regular hours for that location, or
                   works 50% or more of the regular hours for that location but is hired for a specified period of time not to
                   exceed 12 months; and

               ■   is not eligible for any company benefits.




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               General Plan Provisions for Life Insurance and AD&D
               This section contains general information that applies to both your Company-provided and optional
               employee-paid life insurance and Accidental Death & Dismemberment (AD&D) coverage. For detailed
               information on Company-provided life insurance and AD&D, see information beginning on page 30. For
               optional employee-paid life insurance and AD&D, see information beginning on page 44.


               Your Beneficiary

               When you are first eligible for coverage under the Plan, you must name one or more primary beneficiaries
               to receive your life insurance benefit if you die. You also may name contingent beneficiaries. You may
               designate or change your beneficiary via the UPoint™ websitehttp://digital.alight.com/alcoausa , or you
               may call 1-844-31ALCOA (1-844-312-5262) and select the "Life Insurance" option. If you enter your
               request via UPoint, the change takes effect on the date your on line request is submitted. If you submit a
               paper form, the change is effective on the date you sign the form. However, no beneficiary change will
               apply to any benefit payment made before the change was received by the claim administrator.

               If you do not have a beneficiary on file at the time of your death, benefits will be paid to your estate. The
               claims administrator may instead pay that amount to your spouse or certified domestic partner, child(ren),
               parent(s) and/or sibling(s). Any of these payment arrangements discharge the claims administrator's
               liability for the amount paid.

               The beneficiary you choose for Company-provided life insurance automatically will be your beneficiary for
               your business travel accident insurance benefits (see page 41 ).

               Any questions concerning designations of beneficiaries should be directed to your attorney or
               estate-planning professional.

               If Your Beneficiary Dies Before You

               A beneficiary's rights end if he or she dies before you. If this happens, the share for that beneficiary is
               divided among the remaining beneficiaries, unless you have made some other designation. If there is no
               primary beneficiary alive when you die, that amount is payable to your contingent beneficiary, if any, or to
               your estate. Payment is made to a contingent beneficiary only if all primary beneficiaries die prior to your
               death. The claims administrator may instead pay that amount to your spouse or certified domestic
               partner, child(ren), parent(s) and/or sibling(s). Any of these payment arrangements discharge the life
               insurance claims administrator's liability for the amount paid.




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               How Benefits Are Paid

               If the total of your life insurance and AD&D payment (not including business travel accident payment) to a
               beneficiary is:

               ■   more than $5,000, the claim may be paid by the establishment of a Total Control Account (TCA). The
                   TCA is a settlement option or method used to pay claims in full. MetLife establishes an interest-bearing
                   account that provides your beneficiary with immediate access to the entire amount of the insurance
                   proceeds. MetLife pays interest on the balance in the TCA from the date the TCA is established, and
                   the account provides for a guaranteed minimum rate. Your beneficiary can access the TCA balance at
                   any time without charge or penalty, simply by writing drafts in an amount of $250 or more. Your
                   beneficiary may withdraw the entire amount of the benefit payment immediately if he or she wants.
                   Please note the TCA is not a bank account and not a checking, savings or money market account.

               ■   less than $5,000, your beneficiary automatically receives a check for the full amount.


               Ability to Assign, Accelerate, Convert or Continue Your Coverage

               Depending upon the type of insurance coverage you have, you may be able to assign benefits, accelerate
               benefit payment and convert or continue your coverage when you leave the Company. The chart on page
               27 highlights which Plan provisions apply to each type of coverage.


               Assignment of Benefits

               If you choose, you may assign your rights to your life insurance and/or AD&D insurance. Assignment
               means that you give all rights to your coverage to your assignee, including the right to:

               ■   any payments that would have otherwise been paid to you;

               ■   name and/or change the beneficiary who will receive any death benefit from your life insurance;

               ■   designate the method of payment;

               ■   make any further assignment; and

               ■   receive notification of any conversion privilege.

               To assign your benefit, you must request an assignment form from the claims administrator by calling
               1-800-451-4192. The completed form (including the assignee's witnessed signature accepting the
               assignment) must be sent to the claim administrator.

               If you choose assignment for your Company-provided life insurance, you must elect a separate
               beneficiary for your business travel accident insurance by calling 1-855-276-2410.




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               Accelerated Benefit Option

               The Accelerated Benefit Option (ABO) is designed to assist you with the financial burden of a terminal
               illness. You may apply for accelerated benefits if you are diagnosed as terminally ill (that is , generally
               considered to have less than six months to live).

               Accelerated benefits may be elected only once and are paid in a lump sum. You must have at least
               $10,000 in life insurance to elect ABO. In addition, some states mandate the minimum amount payable as
               an ABO.

               The maximum accelerated benefit amount payable is 50% of your Company-provided life insurance
               coverage in effect and $250,000 in optional life insurance.

               Accelerated benefits may be taxable. If so, you or your beneficiary may incur a tax obligation. Consult a
               personal tax advisor to determine the impact of this benefit.

               Any accelerated benefit amounts you receive will reduce death benefits payable to a beneficiary and may
               affect eligibility for Medicaid and other government benefits or entitlements.

               For more information on ABO, call 1-844-31ALCOA (1-844-312-5262) and select the "Life Insurance"
               option.


                                       Overview of Plan Provisions for Each Type of Coverage
                                                                        Accelerated
                Type of Coverage                     Assignment         Benefit            Convertible        Portable
                Company-Provided Life                Yes                Yes                Yes                No
                Insurance
                Voluntary Life Insurance             Yes                No                 Yes                No
                Additional Voluntary Life            Yes                No                 Yes                No
                Insurance
                Suoolemental Life Insurance          Yes                No                 Yes                No
                Contributory Life Insurance          Yes                No                 Yes                No
                Accidental Death &                   Yes                No                 No                 No
                Dismemberment (AD&D)
                Insurance
                Business Travel Accident             Yes                No                 No                 No
                Insurance
                MetLife Group Universal Life
                (GUL) Insurance Products
                GUL-Cash Accumulation Fund           Yes                Yes                No                 Yes
                Term Insurance for You               Yes                Yes                No                 Yes
                Term Insurance for Your              No                 Yes                No                 Yes
                Spouse or certified domestic
                partner




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               How to Convert or Continue Coverage

               If you terminate your employment with the Company or retire, you may:

               ■   convert all or part of your Company-provided and optional employee-paid life insurance coverages,
                   except MetLife Group Universal Life (GUL), to a personal policy (see "Converting to a Personal Policy"
                   below).

               ■   continue any GUL coverage you elect. This is called "portability of coverage" (see explanation below)
                   and differs from converting to a personal policy.

               Converting to a Personal Policy

               You have the opportunity to convert your life insurance to a personal policy if your life insurance is
               terminated or reduced because you leave the Company for any reason, including retirement, or the Plan
               ends. You must apply to the life insurance claims administrator in writing within 31 days after the date
               your Company-provided life insurance ends or is reduced.

               The converted coverage must be a type of coverage issued by the claims administrator and must be an
               amount equal to or less than the coverage being terminated or reduced.

               If you lose coverage because the Plan ends, you must have been covered under the Plan for at least five
               years to have this conversion privilege. In this situation, you can convert no more than the lesser of:

               ■   the amount of your life insurance coverage on the date that the life insurance Plan ends, less any
                   group policy amount issued within 31 days after the life insurance Plan ends; or

               ■   $2,000 (for New Hampshire residents, this amount is $10,000).

               You can obtain a personal policy without a medical examination. The personal policy will not include
               disability or AD&D benefits.

               Converted coverage becomes effective on the 32nd day after Company-provided life insurance ends or is
               reduced. If you die before that date, the life insurance claims administrator will pay your beneficiary the
               highest amount of life insurance for which a policy could have been issued, whether or not you had applied
               for a personal policy.

               Call the claims administrator at 1-800-638-6420 for more information or to apply for a personal policy.

               Portability of Coverage

               If you terminate employment or retire, you may continue the full amount or a lower amount of Group
               Universal Life (GUL) coverage up to a maximum of $1,000,000.* This is called portability of coverage and
               differs from converting to a personal policy.
               * The maximum amount of employee life insurance that can be continued for residents of Michigan is $149,000.
                 Residents of South Dakota, Oregon or Vermont cannot continue life insurance but can convert coverage.




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               Once you elect portability of coverage, you may only decrease the amount of coverage in the future; you
               cannot increase it. Your continued (ported) coverage will reduce by 50% at age 70 and end at age 80.
               (The 50% reduction at age 70 or the amount cancelled at age 80 may be converted to a personal policy,
               as described on page 28.)

               To apply for portability of coverage, you must contact the claims administrator in writing within 31 days of
               the date of your termination or retirement. The portability process must be completed within 90 days from
               the date coverage ends.

               If you elect portability, your coverage begins the month following the month in which your employment
               ends. You will receive your premium notices on a monthly basis, and you will make payments directly to
               the insurance company.

               The cost of porting coverage is usually lower than the cost of converting to a personal policy. Evidence of
               insurability may be required.




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               Company-Provided Life Insurance
               Your Company-provided life insurance offers financial security for your family in the event of your death.


               Who Pays the Cost

               The Company pays the full cost of your Company-provided life insurance coverage.


               Enrollment

               You automatically are enrolled in Company-provided life insurance on your first day of work. However,
               you must complete a beneficiary designation form. To obtain this form, call 1-844-31ALCOA
               (1-844-312-5262) and select the "Life Insurance" option. For more information on designating a
               beneficiary, see "Your Beneficiary" on page 25.


               When Coverage Begins

               Your Company-provided life insurance coverage begins on the first day you are actively at work.


               When Coverage Ends

               Company-provided life insurance coverage ends on your last day of active work, unless you are laid off,
               suspended, totally disabled or on an approved leave of absence (including FMLA leave and leave of
               absence for Duty in the Uniformed Services) or retire, as described below. See "Coverage While Not at
               Work" beginning on page 31 for information on when coverage may continue.


               Benefit Payment

               For an Active Employee

               If you are an active employee and die from any cause while coverage is in effect, your beneficiary will
               receive $48,000.

               For a Retiree (excluding Deferred Vested Retirement)

               If you retire:

               ■   at age 62 or older, the amount of your Company-provided life insurance is reduced to $7,500.

               ■   before age 62, your Company-provided life insurance is maintained in full until you reach age 62; then
                   it is reduced to $7,500.

               See "How Benefits are Paid" on page 26 for more information on how benefits are paid by the claims
               administrator.




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               Continuing Coverage at Termination of Employment

               If you terminate employment, you may convert the full amount or a lower amount of Company-provided
               life insurance in effect at termination to a personal policy.

               Also, if you retire and your Company-provided life insurance is reduced to $7,500, you may convert the
               amount by which your life insurance is reduced (up to $40,500) to a personal policy.

               For more information, see "Converting to a Personal Policy" on page 28.


               Coverage While Not at Work

               In certain situations, your Company-provided life insurance may continue while you are not at work. This
               continuation begins on the last day of the pay period in which you were actively at work and ends based
               on your status, as described in the following sections.

               If You Are Laid Off or Suspended

               If you are laid off or suspended, Company-provided life insurance coverage continues as shown below.


                                    Company-Provided Life Insurance During Layoff/Suspension
                Accumulated departmental seniority at start of
                layoff/suspension:                                       Coverage may continue for up to:
                Less than 2 years                                        6 months*
                2 years but less than 10 years                           1 year*
                10 or more years                                         2 years
               * While on layoff/suspension, you may continue coverage up to a total of 24 months, dependent upon your seniority,
                 by paying the appropriate premium.

               If You Are Disabled

               If your disability is not work related, Company-provided life insurance coverage continues as shown
               below.


                               Company-Provided Life Insurance During Non-Work-Related Disability
                Accumulated departmental seniority at start of
                disability absence:                                      Coverage may continue for up to:
                Less than 2 years                                        1 year
                2 or more years                                          2 years




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               If your disability is work related, Company-provided life insurance coverage continues as shown below.


                                     Company-Provided Life Insurance During Work-Related Disability
                   Accumulated departmental seniority at start of
                   disability absence:                                    Coverage may continue for up to:
                   Less than 2 years                                      2 years
                   2 or more years                                        4 years

               The Company-provided coverage may not continue beyond the date of final payment of workers'
               compensation benefits (or the end of the period used to figure a lump-sum workers ' compensation
               payment).

               If You Are Totally Disabled

               If you become totally disabled before age 65, your Company-provided life insurance is continued by the
               Company.

               For purposes of life insurance coverage, totally disabled means that, due to sickness or injury, you are
               completely unable to engage in any business or occupation and cannot perform any work for
               compensation or profit.

               Your Company-provided coverage will continue if you:

               ■    remain totally disabled until the later of the date you reach age 65 or retire; and

               ■   provide written proof to the life insurance claims administrator that your disability has lasted without a
                   break for at least nine months. This proof must be given within one year of the date your disability
                   began. After the initial notice, you must submit proof of your continued total disability at least once each
                   year. The claims administrator may require that you be examined by doctors of its choice, at Company
                   expense.

               The life insurance amount in effect on the date your disability begins will continue until the later of the
               date you reach age 62 or retire; then coverage is reduced (see "Benefit Payment" on page 30). You must
               provide the life insurance claims administrator with proof of your total disability when required or your
               Company-provided life insurance coverage will end.

               If You Take a Leave of Absence

               If you take an approved leave of absence, your Company-provided life insurance continues for two
               months (or until the end of the month in which your leave ends if any day other than the last day of the
               month).

               If You Take a Family or Medical Leave of Absence

               If you take an approved leave under the Family and Medical Leave Act (FMLA), Company-provided life
               insurance continues during your leave. See the Work & Personal Life Benefit Programs booklet for
               information on FMLA.




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               If You Take a Leave of Absence for Duty in the Uniformed Services

               If you are absent from work due to an approved leave of absence for training or duty in the "uniformed
               services" (which include the Army, Navy, Marine Corps, Air Force, Coast Guard and Public Health
               Service commissioned corps, as well as the reserve components of each of these services), your
               Company-provided life insurance continues for up to 12 months, starting on the date your uniformed
               service begins.

               If you had 10 or more years of accumulated departmental seniority at the start of your uniformed service,
               your coverage continues for up to 24 months, starting on the date your uniformed service begins.

               If You Retire (excluding Deferred Vested Retirement)

               Your Company-provided life insurance is maintained in full until the later of:

               ■   the date you reach age 62; or

               ■   your retirement date (the first day of the month in which retirement is approved to commence).

               If you retire:

               ■   at age 62 or older, the amount of your Company-provided life insurance is reduced to $7,500.

               ■   before age 62, your Company-provided life insurance is maintained in full until you reach age 62; then
                   it is reduced to $7,500.

               You may convert the amount of life insurance that is reduced to a personal policy, as described on page
               28.




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               Will Preparation Services
               Will preparation services are available to Company employees and retirees who are covered for
               Company-paid group term life insurance through Metropolitan Life Insurance Company (MetLife).

               This service is provided by Hyatt Legal Plans, a MetLife Company, and is available to you while you
               remain covered by Company-paid group term life insurance, which is insured by MetLife.

               You may have a will prepared or update an existing will for yourself and your spouse or certified domestic
               partner by a participating attorney at no cost to you. This service also includes the preparation of Living
               Wills and Powers of Attorney. Estate Resolution Services are also available at no cost if you use a
               participating Hyatt Legal Plans attorney.

               If you go to a non-participating attorney, you must submit a claim to be reimbursed for covered services.
               In this case, the amount of reimbursement is based on a set fee schedule, and you must pay any
               difference between the set fee and the attorney's actual charge.

               Living trusts and tax planning services are not covered by the Will Preparation Service.

               To use the service, follow the instructions below.

               ■   Call Hyatt Legal Plans' toll-free telephone number, 1-800-821-6400, weekdays from 8 a.m. to 6 p.m.,
                   Eastern Time.

               ■   Provide the client service representative with Alcoa's Group Number 164097 and your Social Security
                   number (employee or retiree number only).

               ■   The representative will then assist you in locating a participating attorney in your area and provide you
                   with a case number to give to the participating attorney of your choice.

               ■   Call the participating attorney and schedule an appointment to begin the process of preparing or
                   updating your will.

               From time to time eligible services may change. For more information about covered services or to obtain
               a claim form, call Hyatt Legal Plans directly at 1-800-821-6400.

               Important Note:

               The services provided by Hyatt Legal Plans are not sponsored by the Company, nor are they endorsed
               by the Company or the participating Unions listed on page 52. The Company and the Unions make no
               recommendation regarding the use of these services.




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               Company-Provided Accidental Death and
               Dismemberment (AD&D) Insurance
               Accidental death and dismemberment insurance (AD&D) provides financial protection in the event you die
               or are dismembered as a result of an accident. In the case of accidental death, this benefit would be paid
               in addition to any life insurance you have.

               If you are injured in an accident that occurs while AD&D coverage is in effect, AD&D benefits will be paid
               for a covered loss shown in the chart on page 36 as long as the:

               ■   accident is the sole cause of the injury; and

               ■   injury is the sole cause of the covered loss.


               Who Pays the Cost

               The Company pays the full cost of your AD&D coverage.


               Enrollment

               You automatically are enrolled in Company-provided AD&D coverage on your first day of work.


               When Coverage Begins

               Your Company-provided AD&D coverage begins on the first day you are actively at work.


               When Coverage Ends

               Company-provided AD&D coverage ends on your last day of active work, unless you are laid off,
               suspended, totally disabled or on an approved leave of absence (including FMLA leave and leave of
               absence for Duty in the Uniformed Services) or retire. See "Coverage While Not at Work" beginning on
               page 39 for information on when coverage may continue.

               You cannot continue (port) or convert AD&D coverage (see chart on page 27).




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               Covered Losses

               AD&D benefits are payable as shown below if you die or suffer certain bodily losses as the direct result of
               an accidental injury.


                                                                   AD&D Coverage
                Covered Loss (subject to exclusions)                                                         Benefit Amount
                Life                                                                                         $96,000
                A hand                                                                                       $48,000
                A foot                                                                                       $48,000
                Sight of an eye                                                                              $48,000
                Any combination of a hand, a foot or sight of an eye                                         $96,000
                Thumb and index finqer of same hand                                                          $24,000
                Speech and hearing in both ears                                                              $96,000
                Speech or hearinq in both ears                                                               $48,000
                Quadriplegia (total paralysis of both upper and lower limbs)                                 $96,000
                Paraplegia (total paralysis of both lower limbs)                                             $48,000
                HemipleQia (total paralysis of uooer and lower limbs on one side of the body)                $48,000
               Loss of sight of an eye means that the eye is entirely blind and that no sight can be restored in that eye.
               Loss of a hand means that all of the hand is cut off at or above the wrist.
               Loss of a foot means that all of the foot is cut off at or above the ankle.
               Loss of thumb and index finger means actual severance through or above the third joint from the tip of the index
               finger and the second joint from the tip of the thumb.
               Loss of speech and hearing means an entire and irrevocable loss that has lasted continuously for 12 consecutive
               months following the injury.
               Paralysis means the loss of use, without severance, of a limb. Paralysis must be determined by a competent medical
               authority to be permanent, complete and irreversible.

               Burn Benefit

               If you sustain a third degree burn in an accident, you will receive a burn benefit. The maximum you will be
               paid for a Burn Benefit for any one loss is determined by multiplying the percentage of the applicable
               body part actually burned times the Maximum Amount Payable for that body part, as shown in the table
               below. The attending physician will determine the percentage of body part actually burned.


                                                                     Burn Benefit
                Body Part                                                               Max Benefit for Body Part
                Face, Neck or Head                                                      $48,000
                Front or Back Torso                                                     $24,000
                One Hand & Forearm                                                      $19,200
                One Upper Arm                                                           $9,600
                One Thigh or One Lower Leg (below knee)                                 $4,800




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               For example, the maximum amount payable for a third degree burn to the back torso is $24,000. If you incur a
               third-degree burn covering 50% of your back torso, your burn benefit would be $12,000.


               Maximum Benefit for All Covered Burns in Each Accident

               When multiple covered burns are sustained in one accident, the AD&D benefit is payable for each loss,
               up to the maximum AD&D benefit amount of $96 ,000.

               Maximum Benefit for All Covered Losses in Each Accident

               When multiple covered losses are sustained in one accident, the AD&D benefit is payable for each loss,
               up to the maximum AD&D benefit amount of $96,000.


               Payment of Benefits

               Payment of AD&D benefits for a covered loss is paid in a lump sum when the claims administrator
               receives notice and satisfactory proof of the loss.

               AD&D benefits will be paid :

               ■   to your beneficiary for the loss of your life; or

               ■   to you for any other covered loss you sustain.


               Motor Vehicle Accident Benefit

               The claims administrator will pay an additional amount equal to 10% of the total amount of AD&D
               coverage in effect for the loss of life that results from injuries sustained while driving or riding in a private
               passenger car if your seat belt was properly fastened. Payment of the additional 10% will not be made if
               you were under the influence of alcohol or drugs while operating the motor vehicle.

               "Passenger car" means any validly registered four-wheel private passenger car. It does not include:

               ■   any commercially licensed car; or

               ■   a private passenger car that is being used for commercial purposes.

               "Seat belt" means any restraint device that:

               ■   meets published federal safety standards;

               ■   has been installed by the car manufacturer; and

               ■   has not been altered after such installation.

               The investigating officer must certify the correct position of the seat belt, and a copy of the police report
               must be submitted with the claim.

               The AD&D exclusions listed in the next section also apply to the motor vehicle accident benefit.




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               Exclusions for Company-Provided AD&D Coverage

               AD&D benefits will not be paid for any covered loss if it in any way results from or is caused or contributed
               to by:

               ■   physical or mental illness or infirmity, or the diagnosis or treatment of such illness or infirmity;

               ■   Infection, other than infection occurring in an external accidental wound;

               ■   suicide or attempted suicide;

               ■   Intentionally self-inflicted injury;

               ■   The voluntary intake or use by any means of

                   -any drug, medication or sedative, unless it is;

                     ■   taken or used as prescribed by a Physician; or

                     ■   an "over the counter' drug, medication or sedative taken as directed

                   -alcohol in combination with any drug, medication, or sedative; or
                   -poison, gas or fumes

               ■   committing or attempting to commit a felony;

               ■   war, whether declared or undeclared; or act of war, insurrection, rebellion, riot, or terrorist acts;

               ■   Service in the armed forces of any country or international authority. However, service in reserve forces
                   does not constitute service in the armed forces, unless in connection with such reserve service an
                   individual is on active military duty as determined by the applicable military authority other than
                   weekend or summer training. For purposes of this provision reserve forces are defined as reserve
                   forces of any branch of the military of the United States or of any other country or international
                   authority, including but not limited to the National Guard of the United States or the national guard of
                   any other country;

               ■   Any incident related to:

                   -travel in an aircraft as a pilot, crew member, flight student or while acting in any capacity other than
                      as a passenger;

                   -travel in an aircraft for the purpose of parachuting or otherwise exiting from such aircraft while it is in
                      flight;

                   -parachuting or otherwise exiting from an aircraft while such aircraft is in flight, except for self-
                     preservation;

                   -travel in an aircraft or device used:

               ■   for testing or experimental purposes;

               ■   by or for any military authority;

               ■   for travel or designed for travel beyond the earth's atmosphere; or




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               ■    Exclusion for intoxication:

                   -Benefits will not be paid under this section for any loss if the injured party is intoxicated at the time of
                     the incident and is the operator of a vehicle or other device involved in the incident.

                   -Intoxicated means that the injured person's blood alcohol level met or exceeded the level that
                      creates a legal presumption of intoxication under the laws of the jurisdiction in which the incident
                      occurred.


               Coverage While Not at Work

               Company-provided AD&D coverage may continue while you are not at work. This continuation begins on
               the last day of the pay period in which you were actively at work and ends based on your status, as
               described in the following sections.

               If You Are Laid Off or Suspended

               If you are laid off or suspended, Company-provided AD&D coverage continues as shown below.


                                       Company-Provided AD&D Coverage After Layoff/Suspension
                   Accumulated departmental seniority at start of
                   layoff/suspension:                                     Coverage may continue for up to:
                   Less than 2 years                                      6 months*
                   2 years but less than 10 years                         1 year*
                   10 or more years                                      2 years
               * While on layoff/suspension, you may continue coverage up to a total of 24 months, dependent upon your seniority,
                 by paying the appropriate premium.

               If You Are Disabled

               If your disability is not work related, Company-provided AD&D coverage continues as shown below.


                                Company-Provided AD&D Coverage During Non-Work-Related Disability
                   Accumulated departmental seniority at start of
                   disability absence:                                    Coverage may continue for up to:
                   Less than 2 years                                      1 year
                   2 or more years                                       2 years

               If your disability is work related, Company-provided AD&D coverage continues as shown below.


                                   Company-Provided AD&D Coverage During Work-Related Disability
                   Accumulated departmental seniority at start of
                   disability absence:                                    Coverage may continue for up to:
                   Less than 2 years                                     2 years
                   2 or more years                                       4 years




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               Coverage may not continue beyond the date of final payment of workers' compensation benefits (or the
               end of the period used to figure a lump-sum workers ' compensation payment).

               If You Take a Leave of Absence

               If you take an approved leave of absence, your Company-provided AD&D insurance continues for two
               months. If coverage would normally end on any day but the last day of the second month, coverage will be
               continued until the end of the second month.

               If You Take a Family or Medical Leave of Absence

               If you take an approved leave under the Family and Medical Leave Act (FMLA), Company-provided
               AD&D insurance continues during your leave. See the Work & Personal Life Benefit Programs booklet for
               information on FMLA.

               If You Take a Leave of Absence for Duty in the Uniformed Services

               If you are absent from work due to an approved leave of absence for training or duty in the "uniformed
               services" (which include the Army, Navy, Marine Corps, Air Force, Coast Guard and Public Health
               Service commissioned corps, as well as the reserve components of each of these services), your
               Company-provided AD&D insurance continues for up to 12 months, starting on the date your uniformed
               service begins.

               If you had 10 or more years of accumulated departmental seniority at the start of your uniformed service,
               your coverage continues for up to 24 months, starting on the date your uniformed service begins.

               If You Terminate Employment or Retire

               AD&D insurance coverage ends at termination of employment or retirement. You cannot continue (port)
               or convert coverage to an individual personal policy.




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               Business Travel Accident Insurance
               The Company provides business travel accident insurance at no cost to you. This coverage is automatic
               and no enrollment is required.

               Business travel accident insurance pays a benefit if you die accidentally or suffer certain bodily losses
               while you are traveling on authorized Company business, including travel to transfer from one Company
               work location to another. Coverage is provided for your spouse or certified domestic partner and/or
               dependent children if they accompany you on a business trip. Dependent children also include the
               children of a certified domestic partner.

               Your business trip is considered to have begun when you leave your residence or regular work location
               on authorized Company business and continues until you return to your residence or regular work
               location.

               For you, business travel accident insurance benefit coverage is the greater of:

               ■   $100,000; or

               ■   three times your annual base pay up to a maximum of $1.5 million.

               Annual base pay is determined by multiplying your hourly base rate of pay on the date of the accident, by
               2,080.

               Business travel accident insurance coverage is $25,000 for your spouse or certified domestic partner and
               $10,000 for each dependent child, provided they are accompanying you on a business trip authorized by
               and at the expense of the Company. Dependent children also include the children of a certified domestic
               partner.


               Effect on Life and AD&D Insurance

               If your covered loss occurs while you are traveling on Company business, business travel accident
               benefits are paid in addition to the total amount of life insurance and/or AD&D benefits paid to you or your
               beneficiary.


               Schedule of Benefits

               Benefits are payable for death, covered accidental death and dismemberment (AD&D) losses and loss of
               use as shown in the chart on page 36.

               If more than one insured person suffers a loss in the same accident, the insurance company will not pay
               more than $20 million per accident. If the applicable benefit amount for the loss would exceed the
               maximum, the maximum will be divided proportionally among the covered persons, based on each
               applicable benefit amount.

               If a covered person has multiple losses as the result of one accident, the insurance company will pay only
               the single largest benefit applicable to the losses suffered.




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               Any benefits for your death are paid automatically to your beneficiary; benefits for your dismemberment or
               loss of use or for an eligible dependent's loss are paid to you.


                                                 Business Travel Accident Insurance Benefits
                   Covered Losses                                            Benefit
                   Life                                                      100%
                   Speech and hearinq                                        100%
                   Speech and a hand, a foot or sight of one eye             100%
                   Hearing and a hand, a foot or sight of one eye            100%
                   Both hands; both feet; sight of both eyes; or a           100%
                   combination of a hand, a foot or sight of one eye
                   One hand, one foot or siQht of one eye                    50%
                   Speech or hearing                                         50%
                   Thumb and index finger of the same hand                   25%
               Loss of sight of an eye means total and irrevocable loss of sight to the extent of legal blindness.
               Loss of a hand or foot means the total and permanent loss of function of a hand or a foot.
               Loss of speech means the permanent and irrecoverable total loss of the capability of speech without the aid of
               mechanical devices, as determined by a physician.
               Loss of hearing means the total and permanent loss of function .


               Exclusions

               Business travel accident insurance benefits are not payable if:

               ■    the loss is caused by or results from an employee's or eligible dependent's emotional trauma, mental or
                    physical illness, disease, pregnancy, childbirth or miscarriage, bacterial or viral infection (except if the
                    bacterial infection is caused by the accident or because of consuming a substance that is contaminated
                    by bacteria), or bodily malfunctions;

               ■    the loss is due to suicide , attempted suicide, or a self-inflicted injuries;

               ■    you are incarcerated; or

               ■    you are in the seNice in the armed forces.


               Your Beneficiary

               The beneficiary you name for your Company-provided life insurance automatically is the beneficiary for
               your business travel accident insurance. However, if you assign your life insurance (as described on page
               26), you must make a separate beneficiary designation for your business travel accident insurance by
               calling 1-855-276-2410.




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               When Coverage Ends

               Business travel accident insurance ends when you are no longer eligible to participate in the Plan or on
               the date your employment ends for any reason, including retirement. You cannot continue (port) or
               convert your business travel accident insurance coverage.


               Assignment of Benefits

               If you choose, you may assign your rights to business travel accident insurance (see chart on page 42).
               You must request an assignment form by calling the claims administrator at 1-855-276-2410.




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               Optional Employee-Paid Life Insurance
               To supplement your Company-provided life insurance, you may purchase additional coverage through
               Metlife's Group Universal Life (GUL) product line.

               The following life insurance programs are available only to employees who were participants before these
               programs were closed to new enrollments:

               ■   voluntary life and AD&D insurance;

               ■   additional voluntary life and AD&D insurance;

               ■   supplemental life and AD&D insurance; and

               ■   contributory life and AD&D insurance.

               Each of these programs is described in the following sections.


               Group Universal Life (GUL)

               The MetLife Group Universal Life (GUL) program provides you the opportunity to purchase additional life
               insurance for you and your dependents. You may elect term life insurance or Group Universal Life (GUL)
               for yourself and term life insurance for your spouse or certified domestic partner and dependent children.

               Important Note:

               The GUL program is not sponsored by the Company or the participating Unions listed on page 52 nor is it
               endorsed by the Company or the Unions. The Company and the Unions make no recommendation
               regarding the purchase of this coverage. The program is not covered by ER/SA and the rights described
               in "Administrative Information" beginning on page 52 do not apply to this program.

               Who Is Eligible

               You, your spouse or certified domestic partner and unmarried dependent children under age 26 are
               eligible for life insurance coverage under this program, if you are an active full-time hourly employee at a
               Company location or participating subsidiary that offers the program. Dependent children also include the
               children of a certified domestic partner.

               The following are not eligible: part-time, agency, leased or contract employees and other individuals who
               are not on the Company payroll, as determined by the Company, without regard to any court or agency
               decision determining common-law employment status.




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               Coverage for a Domestic Partner

               You can cover your domestic partner of the same or opposite gender under the Group Universal Life
               (GUL) program (see the definition on page 50).

               When you enroll a domestic partner, you will be required to provide proof that your partner meets the
               Company's eligibility guidelines. Once this required proof is accepted by the Plan, your domestic partner
               is considered a "certified domestic partner." Required proof includes, but is not limited to:

               ■   a valid state-issued marriage certificate (for same-gender couples) or a Declaration of Domestic
                   Partner Affidavit, which among other documentation requires you to prove that your relationship has
                   existed for at least 12 months, and that you and your partner are financially interdependent;

               ■   documentation showing that you both reside at the same address; and

               ■   two other forms of proof, such as a lease or deed in the names of both parties which describes the
                   parties as joint tenants, or tenants by the entirety, or proof of a joint checking, savings or credit card
                   account.

               For a complete list of required documentation, call 1-844-31ALCOA (1-844-312-5262), or go to the UPoint
               website at digital.alight.com/alcoausa.

               Enrollment

               You may enroll for GUL at any time by contacting MetLife at 1-800-523-2894. You will not have to provide
               evidence of insurability, subject to certain limits, if you enroll within 60 days of your hire or eligibility date.

               Coverage Options

               The GUL program offers the following coverage options.

               ■   Term life insurance for you from one to five times your annual compensation (rounded to the next
                   higher $5,000), which includes an accidental death benefit.

               ■   GUL insurance for you from one to five times your annual compensation (rounded to the next higher
                   $5,000), which includes an accidental death benefit. You also may participate in a tax-deferred cash
                   accumulation fund.

               ■   Term life insurance for your spouse or certified domestic partner in $10,000 increments of coverage to
                   a maximum of $50,000 or $100,000; and for your dependent child(ren) a choice of $2,000, $4,000 or
                   $10,000 per child.

               Who Pays the Cost

               You pay the full cost of any GUL/Term Life Insurance you choose with after-tax dollars deducted from
               your paycheck.

               The cost for GUL/Term Life Insurance for yourself is based on your age, whether or not you use tobacco
               products and the amount of coverage you choose based on your annual compensation. The cost of
               coverage for your spouse or certified domestic partner is based on his or her age and the coverage
               amount. The cost for child coverage is a flat amount based on the coverage level chosen.




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               Your cost for GUL/Term Life Insurance for yourself will change as of January 1 each year, based on your
               age and your annual compensation as of December 31 of the previous year. The cost of insurance for
               your spouse or certified domestic partner may increase based on his or her age as of December 31.

               For More Information

               For more information on Metlife's GUL product line or to enroll, call MetLife directly at 1-800-523-2894.


               Frozen Optional Life Insurance and AD&D Programs

               The following life insurance and AD&D programs are available only to employees who were enrolled in
               these programs as of March 1, 1978.

               ■   Voluntary life and AD&D insurance allowed a participating employee to purchase additional life
                   insurance and AD&D coverage based on his or her annual compensation as of 1976.

               ■   Additional voluntary life and AD&D insurance was available only to a participating employee
                   insured for $25,000 or more under the voluntary life insurance and AD&D program, who enrolled on or
                   before September 1, 1974.

               ■   Supplemental life and AD&D insurance allowed a participating employee to purchase additional life
                   insurance and AD&D coverage based on his or her current annual compensation.

               The following program was closed to new participants as of November 1, 1987.

               ■   Contributory life and AD&D insurance allowed a participating employee to purchase additional life
                   insurance and AD&D coverage up to four times his or her annual compensation. This program was
                   available to employees enrolled on or before November 1, 1987.

               Enrollment

               Enrollment in the voluntary life insurance, additional voluntary life insurance and supplemental life
               insurance programs has been frozen since March 1, 1978. Contributory life insurance enrollment has
               been frozen since November 1, 1987. No enrollments have been permitted since these dates.

               Who Pays the Cost

               You pay your required cost of any optional life insurance and AD&D coverage with after-tax dollars from
               your paycheck.

               When Coverage Ends

               Your optional life insurance and AD&D coverage ends on the earlier of the date:

               ■   you are no longer an employee of the Company;

               ■   you fail to pay your required premiums;

               ■   you are no longer eligible for coverage under the Plan; or

               ■   the Plan ends.




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               If you leave the Company or retire, you may convert any optional life insurance that ends or is reduced to
               a personal policy; however, all AD&D coverage ends. See "Converting to a Personal Policy" on page 28
               for more information.

               Coverage While Not at Work

               All frozen optional life insurance and AD&D coverage may continue while you are not at work, provided
               you continue to pay your required premiums. This continuation begins on the last day of the pay period in
               which you were actively at work and ends based on your status, as described in the following sections.

               If You Are Laid Off or Suspended

               If you are laid off or suspended, optional life insurance and AD&D coverage continues as shown below.


                                       Optional Life and AD&D Insurance During Layoff/Suspension
                   Accumulated departmental seniority at start of
                   layoff/suspension:                                     Coverage* may continue for up to:
                   Less than 2 years                                      6 months
                   2 years but less than 10 years                          1 year
                   10 or more years                                       2 years
               * While on layoff/suspension, you may continue coverage up to a total of 24 months, dependent upon your seniority,
                 by paying the appropriate premium.

               If You Are Disabled

               If you are disabled, optional life insurance and AD&D continues as shown below.


                                       Optional Life Insurance and AD&D During Disability Absence
                   Accumulated departmental seniority at start of
                   disability absence:                                    Coverage may continue for up to:
                   Less than 2 years                                      1 year for life and AD&D insurance
                   2 or more years                                        2 years for life insurance; 1 year for AD&D
                                                                          insurance

               If You Are Totally Disabled

               If you become totally disabled before age 60, the Company will pay the cost of your optional voluntary life
               insurance if you:

               ■    remain totally disabled until you die.

               ■    provide written proof to the claims administrator that your disability has lasted without a break for at
                    least nine months. This proof must be given within one year of the disability date. After the initial notice,
                    you must submit proof of your continued total disability at least once each year. The claims
                    administrator may require that you be examined by a doctor(s) of its choice, at Company expense.




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               For purposes of life insurance coverage, totally disabled means that, due to sickness or injury, you are
               completely unable to engage in any business or occupation and cannot perform any work for
               compensation or profit.

               The optional life insurance amount in effect on the date your disability begins will continue until the later of
               the date you reach age 65 or retire; then coverage is reduced.

               You must provide the claims administrator with proof of your total disability when required or your optional
               life insurance coverage will end.

               If You Take a Leave of Absence

               If you take an approved leave of absence, your optional insurance continues for two months. If coverage
               would normally end on any day but the last day of the second month, coverage will be continued until the
               end of the second month.

               If You Take a Family or Medical Leave of Absence

               If you take an approved leave under the Family and Medical Leave Act (FMLA), your optional insurance
               continues during your leave. See the Work & Personal Life Benefit Programs booklet for information on
               FMLA.

               If You Take a Leave of Absence for Duty in the Uniformed Services

               If you are absent from work due to an approved leave of absence for training or duty in the "uniformed
               services" (which include the Army, Navy, Marine Corps, Air Force, Coast Guard and Public Health
               Service commissioned corps, as well as the reserve components of each of these services), your optional
               insurance continues for up to 12 months, starting on the date your uniformed service begins.

               If you had 10 or more years of accumulated departmental seniority at the start of your uniformed service,
               your optional insurance continues for up to 24 months, starting on the date your uniformed service
               begins.

               For More Information

               If you are enrolled or wish to enroll in the MetLife Group Universal Life (GUL) Program, contact MetLife
               directly at 1-800-523-2894 for complete information about this program.

               If you are enrolled in the frozen optional life insurance and AD&D programs and have a question or need
               additional information, you may contact MetLife at 1-800-451-4192.




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               Definitions
               Here are the definitions for some terms used in this booklet. If you have questions on these or other
               terms, call 1-844-31ALCOA (1-844-312-5262).

               Accumulated Departmental Seniority

               The seniority acquired by you since your last date of hire, measured in years, months and days. It is
               subject to the provisions of the collective bargaining agreement between the Company and your Union.

               Actively at Work

               You are considered actively at work if you:

               ■   are presently at work for the Company; or

               ■   were present at work on the last scheduled working day before:

                   -a scheduled vacation;

                   -an absence due to a paid holiday, paid jury or witness day, or a paid bereavement day;

                   -a scheduled day off within your working schedule;

                   -a short-term absence for authorized Local Union business; or

                   -a family or medical leave.

               Beneficiary

               The person or persons, organization or legal entity you name as your primary or contingent beneficiary to
               receive any payment due from the Plan when you die.

               ■   Primary Beneficiary: The person(s) or entity first in line to receive the benefit under the Plan when
                   you die.

               ■   Contingent Beneficiary: The person(s) or entity next in line to receive the benefit under the Plan when
                   you die if no primary beneficiary survives beyond your death.

               Company

               Alcoa USA Corp. and its affiliated companies that have adopted this Plan.

               Doctor

               A person who is legally licensed to practice medicine and is not related to you. A licensed medical
               practitioner will be considered a doctor if:

               ■   applicable state law requires that such practitioners be recognized for the purposes of certification of
                   disability; and

               ■   the care and treatment provided by the practitioner is within the scope of his or her license.




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               Domestic Partner/Certified Domestic Partner

               Your partner of the same gender or opposite gender who is not otherwise your legal spouse or
               common-law spouse. In addition, you and your partner must meet the following criteria:

               ■   you must be living together for one or more years;

               ■   you must be financially interdependent; and

               ■   you must not be blood relatives.

               You must submit either a valid state-issued marriage certificate (for same gender couples) or an affidavit
               and supporting documentation as part of the domestic partner verification process. Once this information
               is accepted by the Plan , your domestic partner will be considered a, "certified domestic partner. "

               ERISA

               The Employee Retirement Income Security Act of 1974, a federal law that governs group benefit plans.

               Full-Time Employee

               An active employee who works on a regular work schedule and is not a part-time or temporary employee.

               Layoff

               A temporary absence from employment because of a reduction in the workforce.

               Leased Employee

               Leased employees as defined in the Internal Revenue Code, Section 414(n), as amended.

               Not Work Related

               A disease or injury that does not arise out of (or in the course of) any work for pay or profit. A disease or
               injury will be deemed to be not work related regardless of cause if you are not entitled to benefits under
               workers' compensation laws.

               Part-Time Employee

               An active employee who works at least 50% but less than 100% of the regular work schedule for that
               location, but who is not a temporary employee.

               Retire

               To be eligible for and elect retirement under a Company retirement plan.




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               Temporary Employee

               An employee paid on an hourly basis through the Company's payroll system who:

               ■   Does not work on a regular schedule, or works less than 50% of the regular hours for that location, or
                   works 50% or more of the regular hours for that location but is hired for a specified period of time not to
                   exceed 12 months; and

               ■   Is not eligible for any Company benefits.

               Totally Disabled

               Totally disabled means that you are completely unable to perform the duties of your job due to injury,
               illness or pregnancy, and you must be under a doctor's care.

               While disabled, you must receive appropriate care or treatment from a doctor on a continuing basis. For
               the purpose of this Plan , appropriate care and treatment means that all medical care and treatment must
               be:

               ■   received from a doctor whose medical training and clinical experience are suitable for treating your
                   disability;

               ■   necessary to meet your basic health needs and of demonstrable medical value;

               ■   consistent in type, frequency, and duration of treatment with relevant guidelines of national medical,
                   research, and health care coverage organizations and government agencies;

               ■   consistent with the diagnosis of your condition; and

               ■   directed toward maximizing your medical improvement.




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               Administrative Information
               This booklet provides a summary of S&A, life insurance and accidental death and dismemberment
               benefits under the Group Benefits Plan for Hourly Employees of Alcoa USA Corp., and the Retirees
               Group Benefit Plan for Certain Hourly Employees of Alcoa USA Corp. These Plans are governed by the
               Employee Retirement Income Security Act of 1974 (ERISA).

               This section contains legal and administrative information you may need to contact the right person for
               information or help. Although you may not use this information often, it can be helpful if you want to know:

               ■   how to contact the Plan Administrator;

               ■   how to contact the claims administrator;

               ■   what to do if a benefit claim is denied; and

               ■   your rights under ERISA and other federal laws such as COBRA.

               MetLife Group Universal Life (GUL) products are not sponsored by the Company and are not covered by
               ER/SA; therefore, the rights described in this section do not apply to the GUL program.


               Participating Unions

               The benefits described in this booklet apply to employees of the Company and its participating
               subsidiaries who are covered by collective bargaining agreements between the Company and the Unions
               listed in the following chart. The chart also provides the effective date for life insurance and AD&D
               benefits for each location and Union. The effective date for S&A payments is shown on page 3.




                                         USW Master Agreement Locations, Effective January 1, 2020
                                 Company       Location                                                       Local
                     Code        Name          Code           Location Name          Union Name               Number
                     020         Alcoa USA     PTC            Point Comfort, Texas   United Steelworkers      4370
                                 Corp _
                     020         Alcoa USA     WAR            Warrick (Newburgh,     United Steelworkers      104
                                 Corp.                        Indiana)
                     020         Alcoa USA     MSA            Massena, New York      United Steelworkers      420
                                 Corp.
                     020         Alcoa USA     WEN            Wenatchee,             United Steelworkers      310A
                                 Corp _                       Washinqton
                     020         Alcoa USA     WEN            Wenatchee,             Sheet Metal Workers      66
                                 Corp.                        Washinqton
                     020         Alcoa USA     WEN            Wenatchee,             Bricklayers and Allied   3
                                 Corp.                        Washinqton             Craftsmen
                     020         Alcoa USA     WEN            Wenatchee,             International            191
                                 Corp.                        Washington             Brotherhood of
                                                                                     Electrical Workers




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               020    Alcoa USA   WEN   Wenatchee,               International         1123
                      Corp.             Washington               Association of
                                                                 Machinists
               020    Alcoa USA   ABY   Arkadelphia , Arkansas   United Steelworkers   5073
                      Corp.             (Gum SprinQs)
               R01    Alcoa USA   MSY   Massena, New York        United Steelworkers   450A
                      Corp.             (RMC St. Lawrence)
               R01    Reynolds    LCL   Lake Charles,            United Steelworkers   13-555
                      Metals            Louisiana
                      Company




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               Upon written request to the Plan Administrator, you may obtain a list of employers that participate in the
               Plan. You also may inquire if your particular employer participates in the Plan and obtain the employer's
               address. The Plan is maintained pursuant to one or more collective bargaining agreements. Upon written
               request, you may receive information on whether the Plan covers the members of your particular employee
               organization, obtain the address of that employee organization if members are covered under the Plan and
               obtain a copy of that collective bargaining agreement.


               Plan Administrator and Sponsor

               The Plan (except GUL) is administered and sponsored by Alcoa USA Corp. You may contact the Plan
               Administrator at:

               Plan Administrator-Sickness and Accident
               Benefits, LTD, Life, AD&D and Business Travel Accident Insurance
               Alcoa USA Corp.
               201 Isabella Street, Suite 500
               Pittsburgh, PA 15212
               412-315-2900

               The Plan Administrator has the discretionary authority to determine eligibility under all provisions of the
               Plan; correct errors, supply omissions and reconcile inconsistencies in the Plan; ensure that all benefits
               are paid according to the Plan; interpret Plan provisions for all participants and beneficiaries; and decide
               issues of credibility necessary to carry out and operate the Plan. Benefits under the Plan will be paid only
               if the Plan Administrator decides in its discretion that the applicant is entitled to them.

               Plan Administrator Role

               The Plan Administrator has the complete discretionary authority to adopt rules for the administration of
               these Plans as it considers desirable, and may construe and interpret the Plans, determine eligibility,
               correct errors, supply omissions, reconcile inconsistencies and decide issues of credibility to the extent it
               deems necessary to operate the Plans. Any actions taken pursuant to this paragraph are discretionary
               actions of the Plan Administrator and shall be conclusive, final and binding on all parties.


               Plan Year

               The Plan Year is January 1 through December 31.


               Type of Plan

               This Plan is called a "welfare" plan under ERISA; it helps protect you against financial loss in case of
               sickness, injury or death.




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               Identification Numbers

               Following are the Employer Identification Number (EIN) and plan numbers for the Company and each
               plan:

               ■   Alcoa USA Corp.: EIN XX-XXXXXXX.

               ■   Group Benefits Plan for Hourly Employees of Alcoa USA Corp., Plan 503

               ■   Retirees Group Benefit Plan for Certain Hourly Employees of Alcoa USA Corp, Plan 507.

               ■   Plan Numbers 503 and 507 (Sickness & Accident Benefits and Company-provided Life, AD&D and
                   Business Travel Accident Insurance)

               ■   Optional Life Insurance. Plan Number 505 (Voluntary Life and AD&D Insurance, Additional Voluntary
                   Life and AD&D Insurance, Supplemental Life and AD&D Insurance and Contributory Life and AD&D
                   Insurance)

               When referring to the Plan in claims appeals or other correspondence, you will receive help more quickly
               if you use the full plan name and number.


               Type of Administration

               All benefits provided under the Plan are insured and governed by group insurance policies issued by the
               insurance companies. The Plan Administrator has designated the following companies to insure and/or
               administer benefits and pay claims as provided under the Plan.

                   For sickness & accident (S&A) benefits and or long term disability benefits:
                   Claims Administrator
                   MetLife Disability
                   P.O. Box 14760
                   Lexington, KY 40512-4760

               ■   For life and AD&D insurance:
                   Claims Administrator and Insurance Company
                   MetLife Group Life Claims
                   P.O. Box 6100
                   Scranton, PA 18505-6100
                   Fax: 1-570-558-8645




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               ■    For business travel accident insurance:
                    Chubb Group of Insurance Companies
                    Claim Service Center
                    600 Independence Parkway
                    P.O. Box 4700
                    Chesapeake, VA 23327 -4700
                    1-855-276-2410
                    To file a claim, contact:
                    Broadspire Crawford
                    P.O. Box 792190
                    San Antonio , TX 78279
                    1-855-276-2410
                    wbenefits@us.crawco.com

               Claims administrators and insurance companies may change. For the most updated information , call
               1-844-31 ALCOA ( 1-844-312-5262).


               Plan Funding

               The administration and funding for sickness and accident (S&A) and life and AD&D insurance benefits
               are shown in the following chart.


                                                        Plan Administration and Funding
                                                        Type of
                   Benefit                              Administration         Insurance Company     Tvoe of Funding
                   Sickness & Accident                  Insured                MetLife               Company
                   And long term disability                                                          contributions


                   Company-provided life and AD&D       Insured                MetLife               Company
                   insurance                                                                         contributions
                   Business travel accident insurance   Insured                Chubb Group of        Company
                                                                               Insurance Companies   contributions
                   Voluntary life and AD&D insurance,   Insured                MetLife               Employee and
                   additional voluntary life and AD&D                                                Company
                   insurance, supplemental life and                                                  contributions
                   AD&D insurance, contributory life
                   insurance and AD&D insurance


               Agent for Service of Legal Process

               If any disputes arise under the Plan , papers may be served upon:

               Plan Administrator - USW Plan
               Alcoa USA Corp.
               201 Isabella Street, Suite 500
               Pittsburgh, PA 15212
               412-315-2900




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               Claims Procedures

               How to File a Claim

               Sickness and Accident (S&A) benefits-Your sickness and accident benefits are administered through
               a managed disability program. This program uses a disability management team to review and process
               disability claims.

               If you become totally disabled, call 1-844-31ALCOA (1-844-312-5262) and select the "Disability" option.
               You will be connected to a customer service representative who will check your eligibility for benefits and
               ask you to provide information about your illness or injury and your job. This information will be passed on
               to a disability case manager who will contact your doctor to gather medical information, and the Company
               to learn about your job requirements.

               The disability case manager will work with you, your doctor and the return-to-work coordinator at your
               location to determine the appropriate length of disability and to develop a personalized care plan to help
               you return to work. You and the Company will receive a notification specifying the length of time you will
               receive disability benefit payments and your return-to-work date.

               If you are eligible for long term disability (hired on or after January 1, 2020), your S&A case manager will
               assist you with the application of long-term disability benefits. Generally, this process begins within 90
               days of the day your S&A benefits will expire.

               Life and AD&D Insurance-To receive a benefit payment, you or your beneficiary must present proof to
               the claims administrator of the event that caused your dismemberment or death. Proof of your
               dismemberment includes a written doctor's statement. Proof of your death is a certified death certificate
               (accidental death may require additional proof).

               To report a death, call 1-844-31ALCOA (1-844-312-5262) and speak with a customer service
               representative. For information or help with claims, call 1-844-31ALCOA (1-844-312-5262) and select the
               "Life Insurance" option.

               Business Travel Accident Insurance-Your local human resources representative will begin the claim
               process for you or your beneficiary.

               How to Appeal a Claim

               If a claim is denied, in whole or in part, you or your representative will receive written notice from the
               claims administrator. This notice will include the reasons for denial, the specific plan provision involved,
               an explanation of how claims are reviewed, the procedure for requesting a review of the denied claim and
               a description of the information that must be submitted with the appeal.

               To appeal a denied claim or to review administrative documents pertinent to the claim, send a written
               request to the claims administrator. If you are submitting an appeal, state why you think your claim should
               be reviewed and include any data, documents, questions or comments, along with copies of all bills and
               claim forms relating to your claim.




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               The process and the time frames for appealing a denied claim depend on the type of benefit involved, as
               shown in the chart on page 58.

               If your claim remains denied after the first appeal and you are covered by a collective bargaining
               agreement that contains a grievance and arbitration provision, that procedure will take the place of a
               second appeal in the event a grievance has been filed (see page 59).


                                                    Time Frames for Processing and Appealing Claims
                                                                       Time Frames for:
           Claims Process                                              Sickness and Accident               Life Insurance and AD&D Benefits
                                                                       Benefits and Long term
                                                                       disability
           Claims administrator reviews initial claim and makes        Within 45 days of the date claim    Within 60 days of the date claim is
           determination                                               is received                         received
           Extension period, if required due to special                Additional 30 days                  Additional 60 days
           circumstances beyond control of claims
           administrator*
           Additional extension period, if required due to special     Additional 30 days                  None
           circumstances beyond control of claims
           administrator*
           You must provide specified missing or additional            Within 45 days of request for       None
           information to claims administrator**                       missinq or additional information
           You may submit an initial appeal of denied claim            Within 180 days of receiving        Within 60 days of receiving notice of
                                                                       notice of denied claim              denied claim
           If your initial appeal pertains to benefits, benefits       Within 45 days of date appeal is    Within 60 days of date appeal is
           payments, eligibility or eligible pay and , for Life        received                            received
           Insurance and AD&D benefits only, evidence of
           insurability, claims administrator reviews your appeal
           and makes determination
           Extension period , if required due to special               Additional 45 days                  Additional 60 days
           circumstances beyond control of claims
           administrator*
           You may submit a second and final appeal of denied          Within 180 days of receiving        Within 60 days of receiving notice of
           claim                                                       notice of denied claim              denied claim
           For S&A benefits claims: If your second and final           Within 45 days, or 90 days if       None
           appeal pertains to benefits or benefits payments, the       there are special
           claims administrator reviews your appeal and makes          circumstances,* of date second
           determination . If your appeal pertains to eligibility or   and final appeal is received
           eligible pay, the Benefits Appeals Committee
           reviews your appeal and makes determination
           For Life Insurance and AD&D benefits claims: If your        None                                Within 60 days, or 120 days if there are
           second and final appeal pertains to benefits, benefits                                          special circumstances*, of date second
           payments or evidence of insurability, the claims                                                and final appeal is received
           administrator reviews your appeal and makes
           determination. If your second and final appeal
           pertains to eligibility or eligible pay, the Benefits
           Appeals Committee reviews your appeal and makes
           determination
               * Whenever an extension is required, the Plan must notify you before the current determination period expires. The
                 notice must state the circumstances requiring the extension and the date a determination is expected to be made.
           ** The determination period and any applicable extension periods will be suspended until the earlier of the date on
              which the claims administrator receives required information or this 45-day period ends.




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               Grievance Procedures

               The Plan is maintained pursuant to one or more collective bargaining agreements. An employee problem,
               complaint or grievance concerning S&A benefits may be handled under the grievance and arbitration
               provisions of your collective bargaining agreement.

               If your claim for benefits (or other rights under this agreement) has been denied in whole or part and you
               believe such claim should have been granted, you may appeal the denial as described herein. Whether or
               not you appeal such denial to the claims administrator, you have the right to file a grievance appealing a
               denial of a claim.

               If the grievance and arbitration provisions of your collective bargaining agreement so provides, the
               grievance shall be processed under the provisions of the Basic Labor Agreement applicable to insurance
               grievances. In the case of an appeal, these provisions will take the place of a second appeal for a denied
               claim.

               Any such appeal may be referred to the Board of Arbitration established under the provisions of the Basic
               Labor Agreement (or the arbitrator designated under the basic labor agreement between the Company
               and the applicable Union), after notification of the denial of your claim. The decision of the arbitrator shall
               be final and binding on the Company, the Plan Administrator, the applicable Union and you and your
               eligible dependents.

               Disputes about life insurance coverage are not subject to the grievance and arbitration procedures.


               Payment of Benefits to Others

               If you are unable to care for your own affairs, any payments due may be made to your legal
               representative, as determined by the claims administrator or the Plan Administrator.


               Your Rights under ERISA

               As a participant in the Plan, you are entitled to certain rights and protections under the Employee
               Retirement Income Security Act of 1974 (ERISA). ERISA provides that all plan participants shall be
               entitled to the following.

               Receive Information about Your Plan and Benefits
               ■   Examine, without charge, at the Plan Administrator's office and at other specified locations, such as
                   worksites and Union halls, all documents governing the Plan, including insurance contracts and
                   collective bargaining agreements and a copy of the latest annual report (Form 5500 Series) filed by the
                   Plan with the U.S. Department of Labor and available at the Public Disclosure Room of the Employee
                   Benefits Security Administration.

               ■   Obtain, upon written request to the Plan Administrator, copies of documents governing the operation of
                   the Plan, including insurance contracts and collective bargaining agreements and copies of the latest
                   annual report (Form 5500 Series) and updated Summary Plan Description. The administrator may
                   make a reasonable charge for the copies.




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               ■   Receive a summary of the Plan's annual financial report. The Plan Administrator is required by law to
                   furnish each participant with a copy of this summary annual report.

               Prudent Actions by Plan Fiduciaries

               In addition to creating rights for plan participants, ERISA imposes duties upon the people who are
               responsible for the operation of the employee benefit plan. The people who operate your plan, called
               "fiduciaries" of the plan, have a duty to do so prudently and in the interest of you and other plan
               participants and beneficiaries. No one, including your employer, your Union or any other person, may fire
               you or otherwise discriminate against you in any way to prevent you from obtaining a welfare benefit or
               exercising your rights under ERISA.

               Enforce Your Rights

               If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why
               this was done, to obtain copies of documents relating to the decision without charge, and to appeal any
               denial, all within certain time schedules.

               Under ERISA, there are steps you can take to enforce the previously mentioned rights. For instance, if
               you request a copy of plan documents (i.e., Summary Plan Description and Summary of Material
               Modification) or the latest annual report from the Plan and do not receive it within 30 days, you may file
               suit in a federal court. In such a case, the court may require the Plan Administrator to provide the
               materials and pay you up to $110 a day until you receive the materials, unless the materials were not sent
               because of reasons beyond the control of the administrator. If, after you exhaust your appeals, you have
               a claim for benefits that is denied or ignored, in whole or in part, you may file suit in a state or federal
               court (see "Claims Procedures" beginning on page 57). Such suit must be filed within 180 days from the
               date of an adverse appeal determination notice. In addition, if you disagree with the Plan's decision, or
               lack thereof, concerning the qualified status of a domestic relations order or a medical child support order,
               you may file suit in federal court. If it should happen that plan fiduciaries misuse the Plan's money, or if
               you are discriminated against for asserting your rights, you may seek assistance from the U.S.
               Department of Labor, or you may file suit in a federal court. The court will decide who should pay court
               costs and legal fees. If you are successful, the court may order the person you have sued to pay these
               costs and fees. If you lose (for example, if the court finds your claim is frivolous), the court may order you
               to pay these costs and fees.

               Assistance with Your Questions

               If you have any questions about your plan, you should contact the Plan Administrator. If you have any
               questions about this statement or about your rights under ERISA, or if you need assistance in obtaining
               documents from the Plan Administrator, you should contact the nearest office of the Employee Benefits
               Security Administration, U.S. Department of Labor listed in your telephone directory, or the Division of
               Technical Assistance and Inquiries, Employee Benefits Security Administration, U.S. Department of
               Labor, 200 Constitution Avenue N.W., Washington, D.C. 20210. You also may obtain certain publications
               about your rights and responsibilities under ERISA by calling the Employee Benefits Security
               Administration at 1-866-444-3272.




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               Family and Medical Leave Act

               The Family and Medical Leave Act (FMLA) is a federal law enacted in 1993 that provides for an unpaid
               leave of absence for up to 12 weeks during any 12-month period if you experience one of these events:

               ■   the birth or adoption of a child or placement of a foster child in your home;

               ■   a serious health condition affecting your child, spouse, or parent (does not include parents-in-law); or

               ■   your own serious health condition.

               The Company also provides for FMLA-like leave for absences taken to care for a domestic partner (see
               definition on page 50).

               For full details on FMLA, see the Work & Personal Life Benefit Programs booklet.


               No Obligation to Continue Employment

               The Plan does not create an obligation for the Company, its affiliates or its subsidiaries to continue your
               employment. In addition, the right of the Company, its affiliates and subsidiaries to terminate your
               employment or to take other personnel action is not limited by the effect that the action might have on
               your eligibility for benefits under the Plan.


               Future of the Plan

               The Plan described in this booklet is provided for the term of the collective bargaining agreement between
               the Union and the Company. The Company reserves the right to make administrative changes to the Plan
               from time to time. However, these changes cannot diminish the benefits negotiated under the terms of the
               agreement.




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